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                             COMMONWEALTH OF MASSACHUSETTS
                                                               WORCESTER SUPERIOR COURT
WORCESTER,
                                                               C.A. No. 10-0435A

ANTHONY HAYES,                                    )
      Plaintiff                                   )
                                                  )
v.                                                )
                                                  )
P.O. DARNELL MCGEE,                                )
P.O. JAMES O’ROURKE,                               )
SGT. KENNETH DAVENPORT                             )
LT. TIMOTHY O’CONNOR,                              )
And GARY GEMME, CHIEF of POLICE                    )
IN THEIR INDIVIDUAL CAPACITIES and)
MICHAEL O’BRIEN, CITY MANAGER, )
And THE CITY OF WORCESTER,        )
         Defendants               )

             FIRST AMENDED COMPLAINT AISD REQUEST FOR RJRY TRIAL
                                            iNTRODUCTION

           This is an action to recover money damages for violation of plaintiffs Constitutional
           rights and for state torts, to wit: serious physical injury inflicted by a police officer
           without justification in the course of a raid on a residence on or about March 1, 2007.
                                             JURiSDICTION

 2.         This action is brought pursuant to 42 U.S.C. §~ 1983 and 1988, alleging violations of the
            Fourth and Fourteenth Amendments to the United States Constitution, and also pursuant
            to the common law of torts. This Honorable Court has concurrent jurisdiction as to the
            Constitutional claims, Rzeznik v. Chief ofPolice ofSouthampton, 374 Mass. 475, 484 n. 8
            (1978); it has original jurisdiction as to tort claims. M.G.L. c. 212 §~ 3, 3A, and 4.
                                                 PARTIES

     3.     Plaintiff Anthony Hayes (“Hayes”) is, and was at all material times hereto, a citizen of
            the United States and a resident of Worcester County, Massachusetts.

     4.     Defendant Gary 3. Gemme (“Gemme”) was at all times material hereto the Chief of the
            City of Worcester Police Department (“V/PD”) acting under color of state law. He is
            being sued in his individual capacity.



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5.          Michael O’Brien (“O’Brien”) was at all times material hereto Worcester’s City manager.
            He is being sued in his individual capacity as a policy maker of the City.

6.          Defendant Darnell McGee (“McGee”) was at all times material hereto a police officer of
            the WPD, and he is sued in his individual capacity.

7.          Defendant Kenneth Davenport (“Sgt. Davenport”) was at all times material hereto a
            police officer of the WPD holding the rank of sergeant, and he is sued in his individual
            capacity.

8.          Defendant James O’Rourke (“O’Rourke”) was at all times material hereto a police officer
            of the WPD, and he is sued in Ms individual capacity.

9.          Defendant Lt. Timothy 0’ Coimor (“Lt. O’Connor”) was at all times material hereto a
            police officer of the WPD holding the rank of lieutenant, and he is sued in Ms individual
            capacity.

 10.         Defendant City of Worcester (“the City”) is a duly organized municipal corporation
             under the laws of the Commonwealth of Massachusetts, and at all times relevant hereto,
             employed the individual defendants.

 11.         At all times pertinent hereto the each of the individual defendants was a sworn police
             officer of the WPD acting under color of law pursuant to the statutes, ordinances,
             regulations, policies, customs, practices, and usage of the Commonwealth of
             Massachusetts and/or the City of Worcester.
                                                  FACTS

     12.     Each of the foregoing paragraphs is incorporated as if fully set forth herein.

     13.     At all times pertinent hereto defendants McGee, Sgt. Davenport, O’Rourke, and Lt.
             O’Connor were members of the vice squad in the WPD detective division.

     14.     At all times material hereto, Sgt. Davenport directly supervised McGee, and Lt.
             O’Connor directly supervised Sgt. Davenport.

     15.      Defendants McGee, Sgt. Davenport, Lt. O’Connor along with detective O’Rourke
              contend they executed a search warrant at the residence of PT (“PT”), located at 5
              Sycamore Street, Apt. 13, in Worcester, MA on March 1,2007.

     16.      According to police the warrant provided for search of Hayes’ room--not PT’s.

     17.      When the vice squad conducted the raid, the search warrant was not shown to Tenney, or
              to Mr. Hayes, or to another occupant of the apartment, J K (“1K”).

      18.     Hayes and 1K were in the apartment of PT, seated at a table, playing cards, when the
              WPD officers burst into the dwelling without notice or warning.

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19.          The second officer to enter the apartment at the lime and place aforesaid was McGee.

20.          McGee leapt over the corner of a bed and deliberately, recklessly, and maliciously struck
             Hayes on the left side of the head and face, while Hayes was still seated at a table with JK
             with Ms hands in full view, and notwithstanding that Hayes made no movement or
             utterance to suggest he would attempt to resist, impede, or harm any officer.

21.          The blow delivered by defendant McGee rendered Hayes unconscious and caused
             physical injury.

22.          When Mr. Hayes awoke, he was handcuffed and lying across the bed that Officer McGee
             had leapt over.

 23.          Tenney and Kryger witnessed McGee’s assault on Hayes.

 24.          Tenney observed McGee strike Hayes in the head with a black flashlight.

 25.          At the time of Hayes’ arrest McGee possessed a flashlight he had purchased himself and
              which he carried on duty with the knowledge of Ms supervisors, though it was not
              standard equipment the WPD issued to its officers.

 26.          McGee knew the object with which he struck Hayes could inflict serious bodily injury,
              and McGee further knew that a blow to the head with such an object could result in
              disfigurement, neurological injury or death.

  27.          At all limes pertincnt hereto McGee, Sgt. Davenport, Lt. O’Connor and their supervisors
               up the chain of command in the WPD knew that, unless a person posed an imminent
               threat of serious bodily harm to an officer or another person, it was unlawful for an
               officer to strike such person in the head with a flashlight of similar object because of the
               risk such action would cause serious bodily injury or death.

  28.          At all times pertinent hereto McGee, Sgt. Davenport, and Lt. O’connor also knew that
               the WPD use of force policy prohibited strikes to the head and other high risk areas of a
               person who posed no imminent threat of harm to another, because of the risk of serious,
               disabling, or fatal injury.

      29.       Officers James M. ORourke, Damell McGee, and Lt. Timothy J. O’Connor, all assigned
                to the departments vice squad, were recently targets in a highly publicized 17-month
                overtime investigation scandal involving the V/PD.

      30.       Before Hayes’ flashlight beating, The City, Chief Gemme, officials at the Internal Affairs
                Department and City Manager O’Brien knew that flashlights were being used by officers
                as weapons and instruments of force.

       31.      Nevertheless, before Hayes’ arrest there were numerous incidents where WPD officers
                struck persons in the head with flashlights or other dangerous objects without
                justification.

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32.     The Internal Affairs Department of the WPD also was aware before Hayes’ beating that
        officers would use flashlights as a striking weapon.

33.     Yet before the Hayes beating and arrest, City Manager O’Brien, Chief (3emane and the
        V/PD took no measures to ban, control, monitor or to re-train officers on risks of using
        flashlights as weapons.

34.     In an interrogatory answered by the City in a civil rights case City Manager O’Brien
        signed and admitted under oath that he was aware of the following accounts or
        allegations involving the use of flashlights:

         • A male alleged he was “hit with flashlight & Dragged” (according to WPD the result
            of this investigation was “compliance with rule”)

         o    A male alleged he was “punched, kneed, hit with flashlight” (according to V/PD the
               result of this investigation was “unsustained”)

         • A male alleged he was “Mt on head and face with flashlight” (according to WPD the
            result of this investigation was “unfounded”)

         • A male alleged he was “Mt in face with flashlight, chocked” (according to WPD the
            result of this investigation was “unsustained”)

         • A citizen alleged he was “Mt in head with flashlight” (according to WPD the result of
            this investigation was “Unfounded”)

         • A male alleged he was “Stuck with flashlight, punched and kicked (according to WPD
            the result of this investigation was “Unfounded”)

          • A male alleged he was “struck in the face with radio, had sidearm pointed at him”
             (according to V/PD the result of this investigation was “Exonerated”)

          o   A male alleged he was “Struck in chest with flashlight twice” (according to V/PD the
               result of this investigation was “Not Sustained”)

             • A male and female alleged they were “Struck in the eye with flashlight.” (according to
                WPD the result of this investigation was “Exonerated”)

             • A female alleged she was “Struck with flashlight, thrown to the ground, pressure point
                to temple area” (according to WPD the result of this investigation was “Exonerated”)

             • A male alleged he was “Thrown over couch, punched, kicked, elbowed, and struck with
                flashlight” (according to WPD the result of this investigation was “Unfounded”)

   Quotations reflect how the City of Worcester characterized the complaints in answers to   interrogatories signed by
  City Manager Michael O’Brien.


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             o   A male alleged he was “Pushed, knee to ribs, chocked, struck with nightstick, Thrown
                  over couch, punched, kicked, elbowed, and struck with flashlight” (according to
                  WPD the result of this investigation was “Unfounded”)

     35.     The City summarized these events to the Court in connection with a motion to compel
             and placed these responses as a public document with the court.

     36.     City Manager O’Brien signed this document around December 16, 2005 --before Hayes’
             beating.

     37.     At all times pertinent, McGee, Sgt. Davenport and Lt. O’Connor knew or should have
             known that there was no valid reason or justification for McGee to strike Hayes in the
             head with a flashlight or other dangerous object.

      38.     Hayes’ arrest occurred during daylight hours in an illuminated space, and there was no
              legitimate need for McGee to use a flashlight at that time and place.

      39.        Hayes was never charged with assault, battery, resisting arrest or any other crime of
                 violence in connection with his arrest by McGee.

      40.        Before Hayes’ arrest, Sgt. Davenport, Lt. O’Connor, Chief Gemme and the City were all
                 familiar with McGee’s propensities for violence and excessive force when it came to
                 raids and arrests.

      41.        At all times pertinent hereto Sgt. Davenport, Lt. O’Connor, Chief Gemme, and the City
                 knew that McGee had previously been the subject of numerous complaints alleging
                 brutality, excessive force and violation of civil rights.

      42.        Before March 1, 2007, Sgt. Davenport, Lt. O’Connor, Chief Genime and the City knew
                 McGee had been sued for injuring a man (Carlos Valencia) with a brutal flashlight blow
                 to the head.

       43.        Sgt. Davenport, Lt. O’Connor, Chief Gemme and the City knew McGee had previously
                  struck other individuals with a flashlight without legal justification.


The Valencia incident:

       44.        On November 11, 1996, McGee, acting as a member of the WPD vice squad, participated
                  in a raid at 12 Vinton Street, City of Worcester, Massachusetts.

       45.        A number of vice detectives and officers from the WPD participated in a raid and in the
                  arrest of a number of individuals.




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46.          The officers involved in the Valencia raid included: Heriberto Arroyo2, James Bates, Sgt.
             Paul Gaffliey, William Lee, Christopher Murphy, Mary Killoran, David O’Rourke, Sgt.
             Michael Coakley, Sgt. Thomas Gaffliey and Lt. Houlihan, and Detective Timothy I.
             O’Connor who recently retired with the rank of Lieutenant from the WPD.

47.          Sgt. Qaffiiey was commanding officer at the scene of the 12 Vinton Street raid.

48.          The Vice Squad was commanded at that time by Captain Keith D. Benway.

 49.          During the raid, offers rammed open the front door of a dwelling and ordered all
              occupants to the floor.

 50.          At that time and place, McGee jumped and struck Mr. Valencia in the head with a large
              flashlight, causing Valencia to fall to the floor bleeding profusely from a gash wound.

 51.          McGee or some other officer placed Valencia in handcuffs for a short period of time, but
              later his handcuffs were removed.

  52.          According to the federal complaint Valencia filed, he “was not charged with any crimes
               as a result of this incident.” ¶ 15, Valencia v. Dame?1 McGee and The City of Worcester,
               United States District Court (Mass.) Docket No. 99-400I8NMG.

  53.          At the time McGee struck Valencia with the flashlight, he and every other officer and
               supervisor at the scene knew that blows to the head were prohibited because of the
               danger of causing grievous bodily harm.

      54.      Valencia’s wound left a pool of blood on the kitchen floor and Ms clothing was drcnched
               in blood.

      55.       Valencia claimed in his federal civil rights complaint against McGee and Worcester that,
                “[T}here was no reason to strike Mr. Valencia. None of the police officers claimed there
                was any reason to use force on Valencia.”

      56.       Sgt. Gafffiey was aware of Valencia’s injury at the time and place aforesaid because he
                offered Valencia a towel to stop bleeding from the head wound.

       57.       Because Valencia was initially handcuffed and temporarily placed under arrest, he was an
                 “injured prisoner” within the meaning of Massachusetts General Law Chapter 276 § 33
                 and the policies and procedures of the WPD.

       58.       Because Valencia was under arrest and had a serious and unmistakable injury while “in
                 custody,” in accordance with WPD Policy and Instructions for Handling of Prisoners an
                 “injured prisoner report” was required from a supervising sergeant.


        2HeribertO Arroyo was fired by the WPD after he was indicted in federal court for drug trafficking charges and
        sentenced to federal penitentiary.

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59.         Official incident reports were filled out by a number of police officers and detectives
            involved in the raid.

60.         The following detectives or officers of the WPD submitted incident reports as a result of
            the raid: Paul Gaffiiey, Sgt. Thomas J. Gafihey, Darnell McGee, Sgt. Michael Coakley,
            P.O David O’Rourke, William Lee, Thomas Hurley, officer Christopher Murphy, Mark
            Roj as and others.

61.         None of these reports listed Valencia as a person present, arrested, or injured during the
            raid.

62.         The only reference made regarding the presence of Valencia was made by Sgt. Gafffiey
            who wrote in a report that when he entered the kitchen area he noticed an officer in a
            “struggle with two males.”

 63.         No injured prisoner report was ever prepared by any police officer of the WPD regarding
             Valencia’s injuries, and Valencia was not transported to the police station.

 64.         Another person arrested during the raid in which Valencia was injured also sustained
             serious head trauma, requiring multiple staples to suture a gash, yet no mention was ever
             made of this injuries or how it occurred, although one officer’s CM noted in his incident
             report that Reyes ran and “Reyes and I began to struggle. Assistance arrived and Reyes
             was apprehended.”

  65.        The incident report prepared by officer CM noted that Reyes “requested medical
             treatment.”

  66.         Although Sgt. Gafffiey acknowledged that Reyes was bleeding from the head, CM’s
              report deliberately used vague reporting language to the effect that there had been a
              struggle, a chase and that Reyes had requested medical attention without explaining how
              Reyes sustained a large gash to his head.

  67.         Valencia sued McGee and the City for violation of his civil rights.

  68.         McGee never mentioned the existence of Valencia in any official report.

      69.     McGee and Sgt. Gafffiey falsely claimed Valencia may have hit his head against a
              kitchen stove, but there was no testimony to support the account of an accidental self-
              inflicted injury.

      70.      By concocting a story of self-inflicted injury by Valencia, Vice Squad officers and their
               supervisors, perpetrated a fraud on the court which nonetheless failed to explain why no
               injured prisoner report was filed at the time of the injury.




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71.     Valencia’s beating, the lack of investigation, and the tolerance of a contrived, belated,
        incomplete, and implausible explanation all demonstrate that in November, 1996, and
                                                 —


        continuing thereafter WPD officers, supervisors and commanders in the Vice Squad
        observed a code of silence.

72.     Valencia had to go the hospital on his own where he was diagnosed as having sustained a
        10” scalp laceration, which required staples.

73.     Valencia told medical staff he had been struck with an object during an encounter with
        police.

74.     Even though Valencia filed suit on December 16, 1999 alleging McGee committed a
        crime, The Chief of Police at that time did not order any investigation.

75.     McGee was never disciplined for beating Valencia.

76.     The City of Worcester paid Valencia $25,000.00 to settle his federal civil rights lawsuit.

 77.     The City’s failure to investigate and take corrective action against McGee and other
         officers involved evinced deliberate indifference to the civil rights of citizens in
         Worcester.

 78.     The City’s failure to discipline McGee after the Valencia beating was the moving force
         behind the violation of Hayes’ constitutional rights in March 2007.

 Thc PE incident:

 79.     On August 23, 2007, the Vice Squad arrested PB.

 80.     One of the arresting officers was McGee.

 81.     PB was under police surveillance for the sale of narcotics.

  82.     PB was operating a motorcycle. When a Sgt. vice detective displayed his badge and
          instructed PB to stop, PB ditched the motorcycle and ran on foot.

  83.     Vice officers chased PB on foot.

  84.     PB stopped running and surrendered. He also raised his hands and was tacicled by a vice
          squad officer.

  85.     PB was picked up from the ground, arms         behind his back and McGee repeatedly
          punched in the face and eye.

  86.     PB was never charged with resisting arrest or for assault and battery on a police officer.



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87.           After McGee punched PB in the face, McGee told him “that will teach you not to run
              from police.”

 88.          A vice Sgt. detective was present when McGee punched him.

 89.          PB continues to experience blurry vision in his eye to this date.

 90.          The vice Sgt. detective who chased PB on foot described PB’s arrest in an application for
              a criminal complaint as “I observed the suspect turn in our direction to see how far
              behind him we were and then turn back and continue to run. Once the suspect was
              stopped I was informed by Officer McGee that when suspect turned back away from us
              he observed him throw a clear bag containing a white rock like substance.”

  91.          This report was typical of Vice reports were force had been used: despite the fact that
               excessive force was used and that McGee had beaten PB despite his lack of resistance      --


               the arrest was described in reports in vague and generic terms.

  92.          The language that the Vice Sergeant used to describe the arrest failed to comply with
               WPD use of force policy amended in May 2007 which required that “[W]henever an
               arrest is made, the arrest report shall contain, at a minimum, a brief detailing any and all
               levels of force (i.e. Level One through Level Five inclusive) that were used on the
               subject. (Policy 400, paragraph X (B)).

   93.          The written report submitted by a Sgt. detective in the Vice-unit demonstrates the
                existence of a code of silence in that unit associated with the reporting of the use of force
                and injurics to prisoners it came in contact with.


other City Policies linked tQ Hayes’ injurie~: OTHER COURT CASES

      94.        In March, 2007, the WPI) had a policy regarding the handling of injured prisoners.

       95.       Massachusetts General Laws Chapter 276 § 33 governed the examination of injured
                 prisoners, providing that: “Whenever a person is arrested for a crime and taken to or
                 confmed in a jail, police station or lockup, the officer in charge thereof shall immediately
                 examine the prisoner, and if he finds any bruises, cuts or other injuries shall forthwith
                 make a written report thereof to the Chief of Police of the town concerned...”

       96.       This statute is penal in nature and provides that “whoever violates this section shall be
                 punished by a fme of not more than ten dollars.”

        97.       On May 14, 1986, the United States First Circuit Court of Appeals upheld a federal jury
                  verdict of $40,000.00 against Worcester for violation of civil rights, concluding the City
                  had failed to instruct officers on the amount of force they should use in making arrests
                  and on the need to inspect injured prisoners as required by Chapter 276 § 33. Wierstctckv.
                  Heffernan, 789 F.2d 968, 975 (1~. Cir. 1986).


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98   *      In Wierstack, the plaintiff testified and claimed that after he was handcuffed he was
            struck by an officer “repeatedly about the head, neck and shoulder with his revolver.”
             wierstackv. Heffernan, 789 F.2d 968, 975 (J~St Cit. 1986).

99.             In Wierstack v. Heffernan, the First Circuit noted that Chief of Police for the WPD
                “blatantly admitted that he would not have wanted Officer Heffernan to have included in
                his arrest report the fact that he bad struck the plaintiff three or four times.” Id.

100.            His testimony evinced a code of silence promoted within the highest levels of the WPD
                in May of 1986 and continuing.

 101.            Despite that ruling in 1986, the City and its policymakers did little to correct the
                 problems identified by the wierstack Court.

 102.            On August 19, 1986, Ronal C. Madnick, Executive Director of the Worcester Chapter of
                 the American Civil Liberties Union (“ACLU”) appeared before the City Council and
                 requested that the Wierstack decision be referred to the Public Safety Committee of the
                  City Council to look into issues of police training, discipline and supervision.

     103.        His request was marked in the City Council’s agenda in ¶ 83.

     104.         Contemporaneous audio records of that City Council meeting demonstrate that during
                  that meeting Acting Chief of Police Thomas L. Leahy, Jr., and former City Manager
                  Mulford were present.

     105.         After Mr. Macthick made his request to the Council, Mr. Madnick saw and heard Chief
                  Leahy round up City Councilors and admonish them that any referral of police policies
                  and procedures to the Public Safety Committee of the Council would be considered a
                  vote of no confidence in his administration and in the police department.

         106.      Members of the City Council praised the Chief, the WPD the progress made since that
                                                                                —


                   Court case and rejected any request to re-examine WPD policies and procedures.

         107.      An article published by Telegram & Gazette reporter John J. Monahan on August 25,
                   1986 corroborates that the City Council agreed with Chief Leahy and voted unanimously
                   to reject the ACLU’ s request.

         108.       Since 1987, Mi. Madnick as a representative of the ACLU, prepared a bounded report
                    entitled “Worcester Police Department procedures 1987.”

          109.      In this report the ACLU addressed concerns and made recommendations regarding a
                    number of topics, including “injuries to prisoners”, “suicide preventiOn”~ “high-speed
                    pursuits”, strip searches among others.




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110.      In May 1992 the ACLU prepared another report entitled “Report on the Worcester Police
          Department” in May 1992.

111.      This report was hand-delivered to then City Manager Jeffrey Mulford and to then Chief
          of Police Edward Gardella.

112.      The forty-five (45) page report detailed a variety of citizen complaints who claimed they
          had been abused and victimized by members of the WPD.

113.      The report addressed the following concerns: “prisoner’s restrained in cells”, denial of
          medical care and treatment of pregnant women”, “racial incidents”, “officers failing to
          identify themselves”, “officers using unnecessary force”, and “use of handcuffs to punish
          prisoners.”

 114.      Neither the City Manager nor the WPD made any efforts to contact the ACLU to find out
           additional information on the complaints outlined in its report.

 115.      One of the complaints given to the City Manager and the Chief involved a citizen by the
           name of “TB”. TB alleged a person had been chocked, punched and hit over the head
           with a flashlight a number of times. That person alleged he had medical records from
           City Hospital to show he had a “broken bone in my face.”

  116.      Sometime around December 7, 2005 the ACLU director met with Chief Gemme to
            discuss a number of incidents involving the WPD.

  117.      Mr. Madnick discussed with the Chief a number of concerns the ACLU had regarding
            various areas of law enforcement including but not limited to, “acccss to [internal affairs]
            complaint forms”, “investigatory procedures by the WPD”, the lack of an “Early Warning
            System” to track complaints, “Adrenaline Rush”, “Injuries in cells”, deficiencies with
            “Injury Reports”, “Civil Lawsuits”, “Training and Supervision”, “Use of Force Policy”
            and how they should result in automatic investigations and “Code of Silence”.

  118.      Gemme ignored the ACLU’ s allegations.

   119.      Gemme did not investigate the ACLU’ s allegations.

             The allowance of filing false reports throughout the WPD ~
             ~~courage5 lack of accountability and fosters a

   120.      At the time of Hayes’ arrest, the WPD also had a “Truthfulness in reporting” policy
             requirement which applied to officers’ submissions to the police department in any of
             their official reports.




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121.     Policy 1402.1 specifically provided that “an officer or employee of the Department shall
         truthfully state facts in all reports as well as when he appears before or participates in any
         judicial, Departmental or other official investigation, hearing trial or procceding. He shall
          fully cooperate in all phases of such investigations, hearings, trials and proceedings.”

122.     Dept. veterans McGee, Sgt. Davenport, O’Rourke and Lt. O’Connor knew of this policy.

123.     Furthermore, when McGee, Sgt. Davenport and Lt. O’Connor placed Mr. Hayes under
         arrest, they knew that filing a false police report was a crime.

124.      All of the aforesaid officers knew that under General Law Chapter 268 § 6A, that
          “whoever, being an officer or employee of the Commonwealth or of any political
          subdivisions thereof or of any authority created by the general court, in the course of his
          official duties, files or publishes any false written report, minutes or statement, knowing
          the same to be false in a material matter, shall be punished by a fine of not more than one
          thousand dollars or by imprisonment for not more than one year, or by both such fine and
          imprisonment.”

 125.     Sgt. Davenport had an opportunity and an obligation to examine Mr. Hayes for injuries as
          required by G. L. c. 276 Section 33.

 126.     Sgt. Davenport falsely reported that: “Mr. Hayes was standing between the table and a
          bed. At that time Vice Detectives took Mr. Hayes to the floor in an effort to secure him.
          While being placed on the floor Mr. Hayes may have struck his head on the frame of the
          bed. Mr. Hayes was then secured without further incident.”

 127.      Sgt. Davenport filed a false report, because he saw McGee strike Hayes.

 128.      At the time of Hayes’ arrest, Sgt. Davenport was responsible for preparing an “injured
           prisoner report” regarding Hayes and for disseminating it up the chain of command, first
           to his immediate supervisor, Lt. O’Connor.

  129.     Lt. O’Connor was in turn responsible for reviewing Sgt. Davenport’s report, making any
           corrections necessary, signing and submitting the report to his superiors.

  130.     Lt. O’Connor, who witnessed McGee’s assault on Hayes, knew that critical information
           in Sgt. Davenport’s injured prisoner report was false.

  131.     Notwithstanding its falsity, Lt. O’Connor signed the injured prisoner report regarding
           Hayes and submitted it up the chain of command to the following individuals, Capt.
           Steven Sargent, Deputy Superintendent Giulio Fusaro and ultimately to Chief Gernme,
           each of whom was responsible for reviewing that report.

  132.      At the time of Hayes’ arrest, a number of officers who participated in the raid prepared
            incident reports.



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133.    Sgt. Davenport deliberately failed to mention in his report how Hayes was injured or
        what level of force was used on Hayes.

134.    Sgt. Davenport only noted that he and other officers warned Hayes and others in the room
        “POLICE, SEARCH WARRANT,” and described the arrest as uneventful.

135.    Sgt. Davenport did not state in his report that Hayes was belligerent or that Hayes
        resisted.

136.    McGee prepared an incident report on the arrest, omitting any reference to force used,
        injury or resistance.

137.     McGee submitted his incident report up the chain of command, i.e., to Sgt. Davenport,
         and to Lt. O’Connor, each of whom was responsible to review and (if they found the
         report to be proper) to endorse it.

138.     McGee lied in his report by stating that once officer Davenport announced “Police,
         Search Warrant,” “immediately upon entry a male later identified as Anthony Hayes
         attempted to exited (sic) the room while discarding evidence.”

139.     Despite having knowledge as to the falsity of this statement, Sgt. Davenport and Lt.
         O’Connor signed andlor endorsed McGee’s false report and distributed it to other
         supervisors up the chain of command.

 140.    Instead of admonishing McGee about the level of force to be used pror to the raid, or
         intervening or immediately disciplining McGee after his encountcr with Hayes, Sgt.
         Davenport and Lt. O’Connor ratified, condoned and encouraged McGee’s conduct and
         deception by endorsing a false report.

 141.    It was custom and practice among certain officers and their superiors and it was
                                                                                --


         certainly McGee’s practice --to allow the use of vague and terms in reports, such as
         describing subjects’ attempting to “flee” “struggle” or to “exit” or to “discard evidence.”

 142.    These terms were coded police language used by McGee and others to hide the use of
         excessive force during arrests.

 143.     This practice was frequently condoned by some supervisors who knew the meaning of
          these terms but did nothing to stop the practice.
 144.     Sgt. Davenport’s and Lt. O’Connor’ failure to control andlor supervise McGee
          demonstrates the existence of a code of silence in the WPD on March 1, 2007.

 Other WPD Supervisory Policies that fostered a code of silence:

 145.     The code of silence was fostered by a number of existing policies within the City of
          Worcester and the WPD.




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146.      At the time of Hayes’ arrest, the City of Worcester, and its Chief of Police had
          knowledge of the existence of an unconstitutional policy, dating back to the early 1 980s,
          associated with the reporting and documentation of the use of force by its officers.

147.      Chief Gemme became interim Chief of Police in the fall of 2004.
148.      As such, he was the policymaker for the entire WPD.

149.          City Manager Michael O’Brien was at all time pertinent hereto designated by the City
              Charter the “conservator of the peace” and had ultimate responsibility for the ultimate
              firing and disciplining of police officers.

 150.         Chief Gemme also had responsibility for disciplining and dismissing officers at the time
              of Hayes’ arrest.

 151.         City Manager O’Brien, from before Hayes’ arrest to the present time, had a custom and
              practice of not reviewing or being involved in certain disciplinary actions against WPD
              officers when the time of suspension was five days or less.

  152.         This defacto policy followed by City Manager O’Brien by Worcester, prevented Mr.
               O’Brien from learning about potentially serious or sensitive cases involving allegations
               of police misconduct in which the length of suspension did not exceed a five day period.

               USE OF FORCE REPORTS AND A DE FACTO POLICY iN THE WPD THAT
               FAILED TO REQUIRE OFFICERS TO PREPI?~flJ~M

  153.         At the time of Hayes’ arrest, the City of Worcester, and its policymaker, Chief Gemme
               believed that Worcester’s use of force policies required officers to explain uses of force
               in written reports only in instances where they used weapons specifically issued to them
               by the WPD, but this was not the case.

   154.         At the time of Hayes’ beating the WPD “use of force” policy existed as policy It 400 and
                had been effective since September 1, 1993.

   155.         The 1993 WPD policy described use of force as, force including deadly, non-deadly,
                “such as the use of hands, handcuffs or other restraining devices, chemical substances,
                agents or similar devices or instruments for the emission of gas, and police or riot batons
                or firearms.”
       156.     This policy only permitted use of force “reasonably necessary to effect lawful objectives
                 and effectively bring an incident under control.”

       157.      The WPD use of force policy that applied to Hayes’ arrest required at Section 14 that:
                 “[T]he officer shall prepare and submit all required reports. If more than one officer is
                 involved in a use of force incident resulting in an injury, each officer shall complete a
                 report outlining his actions and observations in the incident.



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158.      Moreover, the policy that applied to Hayes’ arrest required “A detailed description of the
          circumstances that led up and required the use of force.”

159.      It also required a “detailed description of the actual use of force.”

160.      Thus, if hands, kicks or any force at all was used by a WE’]) officer, he/she was required
          to account for it in a use of force report.

161.      The policy provided also that if an injury or complaint of pain exists, supervisors are
          encouraged to obtain photographs. A photograph showing no injury may be as important
          as one which shows injury.

 162.         Finally, the 1993 use of force policy provided that “for every incident where an officer
              applies force through the use of a weapon, his report, which is required under Section 14,
              shall be reviewed by Ms commanding Officer who shall forward the report together with
              Ms findings as to whether the incident violated policy and procedure.”

 163.         At the time of Hayes’ arrest Worcester
                                            reports ~officers were noticq~e~YCMefQ~1~



  164.         At the time of Hayes’ arrest, there was a defacto policy that required officers to prepare a
               use of force reports only when their actions involved the use of a relatively few
               departmental issued weapons such as the use of a batons, chemical sprays, or firearms.

  165.         A “use of force report” was an officia’ report distinct from an officer’s incident report.

   166.        At the time of Hayes’ arrest, writing a use of force report required an officer to describe
               the type of weapon used, and elaborate on circumstances of its use, that is, to explain how
               and why the officer was compelled to use the weapon.

   167.         A use of force report, like the injured prisoner report, would be disseminated and
                reviewed up the chain of command until it reached the chief.

   168.         Each supervisor in the chain of command who received a subordinate’s use of force
                report was responsible to review it for completeness to sign it and distribute it to his or
                her superiors.

       169.      At the time of Hayes’ arrest, Chief (iemme was the ultimate recipient and custodian of
                 these records.

       170.      Without requiring officers to submit use of force reports every time its officers used force
                 (regardless of the types of implements used), it was fl~LpQ~5ible for Chief Gemme or the
                 City to monitor and assess officers’ uses of force to determine if they were proper and
                 lawful.



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171.      At the time of Hayes’ arrest, Worcester did not have a system of quality control, in
          accordance with accepted police practices and procedures that provided for the effective
          monitoring and oversight of the use of force by its officers.

172.      The failure to have such system amounted to reckless and deliberate indifference to the
          rights of citizens.

173.          This was particularly important when the level of force used by officers involved the use
              of hands, feet, or other equipment, such as flashlights.

 174.         At the time of Hayes’ arrest, because flashlights were not listed as departmental issued
              equipment, an officer was not required to report the use of such equipment as a weapon
              or in a use of force report.

 175.         At the time of Hayes’ arrest, if a Worcester officer punched, slapped, kicked or injured a
              citizen with his hands or feet (justifiably or not), that officer was not required to
              document or describe the type of force used in the incident report, nor was the officer
              required to file any use of force report— even when injuries resulted —even when its owil
              policy required it.

 176.          This grossly negligent and reckless defacto policy allowed and encouraged officers to
               use vague and generic terms in their reports such as “mild resistance” or “struggle” or
               “violent resistance” without disclosing or explaining their actions during the arrest.

  177.         This de facto use of force policy in existence at the time of Hayes’ arrest permitted
               officers to employ force as they saw fit knowing full well they would not be called to
               account for injuries to citizens particularly the force involved, hands, feet, the use of non
               departmental instruments or WED issued equipment not enumerated in the use of force
               policy (e.g. such as police radios).

  178.          By maintaining the aforesaid policy Chief Gemme and the City failed to monitor and
                control the use of force to assure that it would be used no more often, and to no greater
                degree, than was necessary and lawful.

   179.         Worcester’s unconstitutional use of force policy at the time of Hayes’ arrest prevented
                Worcester and police supervisors from evaluating what force was actually used by field
                officers and assess whether those uses of force were reasonable.

   180.          This unconstitutional policy effectively allowed officers to operate in the field with little
                 supervision and without effective monitoring.

       181.      This policy was in whole or in part the moving force behind the violations of Hayes’
                 constitutional rights.

       182.      Worcester changed its use of force policy on April 13, 2007, a little over a month after
                 Hayes’ beating.


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  183.      Yet Worcester and Chief Gemme were on notice long before Hayes’ beating of WPD’ s
            deficient use of force policy as actually applied.

  184.      On April 13, 2007, Chief Gemme promulgated Policy 400, which amended the 1993
            previous policy.

   185.     The new policy provided that “[Rjegardless of whether the subject was arrested,
            whenever force is used on a Level III or above (A subject who actively resists), all
            incident andlor arrest reports shall contain, at a minimum, a brief detailing any and all
            force that was used on the subject.”

   186.     This new policy also provided that “[W]henever an arrest is made, the arrest report shall
            contain, at a minimum, abrief detailing any and all levels of force (i.e. Level One
            through Level Five inclusive) that were used on the subject.3 (Policy 400, paragraph X
            (B)).

The Hayes Raid:

   187.     No one in Ms. Tenney’s apartment was Mirandized or shown a search warrant despite
            Sgt. Davenport’s assertions that they were, before Darnell McGee assaulted Mr. Hayes.

   188.      Hayes and Kryger were seated when McGee knocked Hayes unconscious.

   189.      Prior to the raid, Hayes was uninjured.

    190.     Hayes was brought to the booking room of the Worcester Police Department at 1:44 p.m
             and processed.

    191.     At the time of Hayes’ arrest the booking officer was required to obtain basic information
             from him.

    192.     At the beginning of the booking it was apparent that Hayes was visibly injured and
             disoriented.

    193.     The booking officer asked Hayes if he had just been “shoot[ing] up,” which he denied.

    194.     Hayes replied “I just got hit in the face with a flashlight.”

    195.      The booking officer asked Hayes, “Who did that?” and Hayes replied the cop that came
              today.

     196.     The booking officer told Hayes he would go to the hospital.

     Level One involves the “compliant subject”, Level two, “The Resistant (Passive) Subject”, Level three “The
    Resistant (Active Subject”, Level Four “The Assaultive (Bodily Harm) Subject” and Level five “The Assaultive
    (Serious Bodily Harm, Death) Subject.


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197.      The WPD policy for handling injured prisoners as applied was not used to check or to
          monitor the type of injuries that prisoners developed when they came in contact with
          police

198.      Under V/PD policy 700 which dealt with “Instructions for Handling Prisoners” the
          booking officer, was required to inquire of Hayes: I) how his injury occurred, 2) if it was
          received before, during or after the arrest, 3) the type and extent of injuries, 4) treatment
          received and by whom.

 199.         WPD policy 700 provided, “If the allegations are made that the injury was caused by a
              police action, that the officer’s ~onunanding officer has been so notified in order that
              reports can be j1nrnediately filed.”

 200.         A review of the WPD booking records shows no record of any contact made with a
              commanding officer in order to file reports.

 201.         Despite the fact that Hayes told the booking officer that he was assaulted by police with a
              flashlight, this information did not trigger any kind of internal investigation or review,
              even though the booking officer ordered Hayes be transported from the police station
              liMass. Memorial Medical Center for medical treatment.

  202.         Because Hayes was transported in a V/PD transport wagon to UMass. Memorial Medical
               Center, his transportation for medical care was reflected in the WPD daily log.

  203.         Because Hayes was accompanied by police officers to UMass. Memorial Medical Center,
               police leaned from hospital staff that Hayes had suffered facial fractures..

   204.         The WPD daily log prepared by the booking officer    --   Officer Trotta-- reflected that
                Hayes was “injured during the arrest.”


   205.         When Hayes was released from UMass Memorial Medical Center V/PD personnel knew
                he had sustained multiple facial fractures.

   Worcester lacked a critical incident ppiIcY

       206.      The circumstances of Hayes arrest, involved a critical police incident, given the severe
                 nature of Hayes’ injuries.

       207.      Hayes’ arrest was a “critical incident”; he was initially uninjured, he was assaulted by an
                 officer with a weapon without legitimate purpose, and he was seriously injured.

       208.      Departments the size of Worcester’s          Department and smaller had at the time of
                 Hayes’ arrest, policies and procedures to investigate critical police incidents such as this
                 one.



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209.         Critical incident policies would require a department to have mechanism to initiate an
             internal investigation as soon as a citizen complained to the police, even if it is done
             verbally.

210.         There are a number of reasons why the Hayes arrest did not generate an internal
             investigation by Worcester police.

211.         The Chief, the City and its police department, made it difficult for citizens that
             complained about police abuse to file complaints against officers, requiring a
             complaining citizen to go to the police department and file an internal affairs written
             complaint.

 212.            Despite employing close to 400 officers, the Worcester PD still lacks a website that
                 would permit citizens to file electronic complaints against officers.

 213.            More important, Worcester lacked a policy that would require automatic investigation of
                 critical incidents.

 214.            Policymakers within the WPD, including Chief Genmie and previous Chiefs were all
                 aware that a policy was needed that would require investigations of alleged police abuse.

  215.               On March 22, 2005 Gary Gemnie wrote to the City Council to explain how the
                     department tracked injured prisoner reports.

  216.               On March 22, 2005, Chief Gemme told the Council:

         o             That the service division tracked injured prisoner reports;

         o             That his department required “injured prisoner reports to be forwarded to internal
                       affairs”;

         •             That, if a citizen claimed that he/she had an injury caused by an officer, that officer’s
                       commanding officer would be notified to look into it;

   217.               But the Chief didn’t tell the City Council that:

             o           internal affairs would never review or critically question injured prisoner reports it
                        received through interdepartnienta1 channels ~ the injured citizen also filed a
                                                                         --


                        complaint in writing to internal affairs or to the police;

             •          That internal affairs would not conduct audits of its injured prisoner reports to fmd out
                        the prevalence of injuries (e.g. or the seriousness of injuries, or whether the injuries
                        occurred as a result of systemic deficiencies in training by officers, or whether they
                         occurred in particular divisions or among certain officers);

                 o       Commanding officers, even when notified of injuries allegedly caused by their


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           subordinate officers, would not investigate or inquire in any way into the circumstances
           of those injuries.

218.     At the time of Hayes’ arrest, Worcester lacked a computer database tracking citizen
         complaints, e.g. an early warning or intervention system for problem officers who were
         repeatedly the subject of citizen complaints.

219.      The City of Worcester knew as early as 1999 that such system was needed in order to
          properly monitor and track citizen complaints, but instead of implementing such a
          system, Worcester made excuses to justify delay.

220.      An early warning system implemented before Hayes’ arrest would have given the City
          and Chief Gemme additional information about prior incidents of misconduct involving
          McGee and the need for prompt intervention and discipline.

 221.     Worcester’s and Gemme’s failure to implement an early warning system identifying
          problem officers such as McGee, was a moving force behind the violation of Hayes’
          constitutional rights.

 The injuries sustained by Hayes:

 222.      Mr. Hayes was transpoited by a wagon to UMass Memorial Medical Center hospital and
           reported to ED physician Dr. Gould and other health care personnel that “The police
           kicked my door in and beat my face.”

  223.     Dr. Gould diagnosed Hayes with “reported assaifit and multiple facial fractures.”

  224.      A computed assisted tomography (CT Scan) of Mr. Hayes head revealed he has suffered
            a minimally displaced fracture at the anterior wall of the right maxillary sinus, and a
            probable fracture at the posterior wall of the right maxillary sinus.

  225.      The CT Scan also showed a severely comminuted fracture at the anterior and the
            posterior wall of the left maxillary sinus. The CT scan also noted air tracking into the left
            pterygopalatine fossa and the medial aspect of the left mandible from left maxillaiy sinus
            fracture.

   226.      Hayes’ CT Scan reading also revealed soft tissue swelling in both cheeks and frontal
             head, left greater than right.

   227.      Hayes CT scan also showed a non~displaced fracture of the left lateral wall of the orbit
             present.

   228.      A CT scan of the maxillofacial region also showed diastasis of the left zygomatic or
             frontal suture.




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229.    Mr. Hayes’ fractured facial bones required two surgeries by Worcester plastic surgeon
        Douglas Rothkopf, M.D., F.A.A.C.P.

230.    Dr. Rothkopf had to rebuild fractured bones in Mr. Hayes collapsed face.

231.    On March 14,2007 Dr. Rothkopfperfomied an open reduction with internal fixation of
        the left zygomatic complex fracture, with insertion of synthetic implant in facial bone.

232.     As a direct result of McGee’s blow to the face, Hayes zygoma was depressed 10 mm.

233.     Photos of Mr. Hayes’ face post-surgery are attached as Exhibit 1.

234.     Mr. Hayes’ injuries were caused by the actions of McGee,    Sgt. Davenport, Lt. O’Connor,
         Chief Gemme and the City of Worcester.

  The Internal Affairs Investigation and Worcester’s failure to conduct thorough and objective
                                            investigations:

235.     On October 17, 2007 Hayes counsel served upon City Manager Michael O’Brien and
         Chief Gemme, Notice and Presentment of Hayes potential claims against the City under
         the Massachusetts Tort Claims Act.

236.     The City Manager acknowledged receipt of the claim.

237.     Because of the previously described systemic deficiencies in the policies and procedures
         of the WPD, Worcester although awarc of Hayes’ injuries, did little to investigate the
         beating or to discipline those responsible for the violation of his rights.

 238.    Hayes was interviewed by WPD internal affairs investigators on April 6, 2009.

 239.    Hayes told investigators from the Bureau of Professional Standards, it was impossible
         that his left side head injury was caused by the bed frame, because the bed had been on
         his right, between him and the front door through which the police raid occurred.

 240.    Hayes explained to internal affairs personnel that the vice squad burst through the only
         door of the apartment (i.e. there was no other way out of the apartment), and that he was
         still seated when he was struck and rendered unconscious.

 241.    The recording of that interview makes it clear that the Bureau of Professional Standards
         interviewers saw the interview as an opportunity to discredit Hayes’ account from the
         beginning, as opposed to finding the facts of the case it was more cross examination
                                                                —


         than interview.

 242.     In fact, in the Bureau of Professional Standards investigations, the line of questioning and
          the tenor of the questions is always different when lawyers are involved as opposed to
          when the complainant attends without a lawyer or the prospect of litigation.


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243.         When the Bureau of Professional Standards is aware that lawyers are involved, or the risk
             of litigation exists, its “investigators” go out of their way to find in favor of the officers
             being investigated, even when the evidence favors the complailailig citizen.

244.         When the nature of a complaint does not pose a risk of litigation, or involves minor
             complaints of discourtesy and foul or abusive language, the BPS takes a more
             evenhanded approach.

245.         The tone of the questions that Hayes was asked make it clear that the investigators were
             not interested in hearing Mr. Hayes’ recitation of events.

 246.            Upon information and belief, the City has not made any efforts to contact medical
                 personnel to verify Hayes’ allegations, which is typical of most investigations.

 247.            According to Hayes, the WE’D never attempted to communicate to him the results of the
                 investigation into the McGee event.

 248.            Hayes counsel has on numerous occasions by telephone requested the results or
                 conclusions of any WPD investigation, with no response.

 249.            On August 17, 2009 Chief Gemme notified Mr. Hayes in writing that after investigating
                 his allegations: “It has been detennined that your complaint is not sustained, i.e. there is
                 no sufficient evidence to either prove or disprove the allegation.”

  250.            An examination of Bureau of Professional Standards’ investigations into federal civil
                  rights claims, reveals a number of deficiencies in the investigations:

        o           The Bureau of Professional Standards rarely contacts doctors who treated the
                    complaining witness as part of their investigation;
         •          Investigators frequently fail to track down and talk to percipient witnesses who have
                    information about the events surrounding the injury;

         •           Complaining witnesses are grilled with direct questions at the police station which are
                     calculated to discredit the witnesses’ story (e.g. for bias);

         •           Conversely, the involved police officers are sent an Inter_Departmental Form, which
                     presents the officer with some simple written questions for himlher to answer;

             •       Typically officers return the forms, saying they do not remember the events;

             •       the Bureau rarely follows up with the officer to confront them with contradictory
                     evidence from booking tapes, photographs, medical records, or witnesses

             •        Creating an exceedingly high and impermissible standard of proof that has never been
                      required by other professional police departments in order to sustain citizen complaints.



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       .          Worcester has a policy of not investigating state or federal civil rights complaints
                  against a WPD officer that alleges abuse ~jç~ the citizen also files a complaint with
                  the internal affairs department.

    251.      Worcester’s BPS investigators looking into circumstances likely to result in litigation
              usually offer conclusions of “the more likely scenario” explanation for the injury e.g.
                                                                                                   —


              citizen x was more likely injured by bitting his head on object y.

    252.      Finally, Gen~ime and Worcester do not investigate incidents of alleged abuse, even where
              Court orders or Judgments from State or Federal Courts are critical of the actions of the
              WPD officers.


~
~dep~entisab0vetheinw

     253.         At the time of Hayes’ arrest, policy makers of the City and the Police Department,
                  including Gemnie, were aware that on more than one occasion, evidence in a criminal
                  case was suppressed by a Worcester Superior Court because the Court did not believe Lt.
                   O’Connor’s testimony, when O’Connor claimed he gave an anestee Miranda warnings.

      254.        Specifically, on August 29, 2003, Superior Court Judge Ralph Gants wrote: “After
                  careful consideration, this Court has come to the conclusion that Sgt. O’Connor intended
                  to lie to the Court by falsely fabricating consent to enter the apartment to avoid the legal
                  difficulties of justifying the entry without such consent.” Exhibit 2, p. 6.



      255.         Judge Gants wrote “in view of this finding, this Court directs the District Attorney to
                   provide a copy of this decision to the Chief of the Worcester Police Department so that
                   consideration can be given to whether discipliflar)’ action against Sgt. O’Connor is
                   appropriate.” Id. at fn. 2 p. 6.

       256.         Judge Gants wrote a thorough six-part analysis explaining why he did not believe Lt.
                    O’Connor’s sworn testimony about getting permission to search the premises. Exhibit 2
                    atpp. 5-10.

           257.     When the Massachusetts Appeals Court backed Judge Gants ‘ruling asserting that Lt.
                    O’Connor had intended to lie, Chief Genmie, who served as a Captain in the Vice Squad
                    when the motion to suppress was decided, stated that Lt. O’Connor had his full support.
                    (Source, Telegram & Gazette Article Gary V. Murray, August 1, 2008).




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258.     At the time of Hayes’ arrest, policy makers of the City and the Police Department,
         including Chief Gemme, were also aware that Lt. O’Connor and members of the vice
         squad had been found in another instance by Judge Agnes, to have violated constitutional
         protections, writing: “jE]very person in this Commonwealth has an interest in insuring
         that the police observe the limits imposed by our state and federal constitutions and laws.
          In this case, those limits were not observed.” Exhibit 3.

259.      Judge Agnes refused to believe testimony of Lt. O’Connor that a criminal defendant had
          been read Miranda rights in that case.

260.      Judge Agnes refused to believe testimony of Lt. O’Connor that a criminal defendant had
          admitted he was in possession of a large quantity of drugs in his home in that case.

 261.     It is alleged that at the time of Hayes’ arrest, policy makers of the City and the Police
          Department, including Chief Gemme were aware that several members of the vice squad
          had allegedly submitted false police reports or had failed to correct erroneous information
          in reports of other vice squad members.

 262.     On December 2, 2008, The Telegram and Gazette reported that Police Chief Gemme had
          recommended the termination of Lt. O’Connor.

 263.      From March 19, 1999 to the present the Worcester Police Department has lacked a policy
           requiring discipline of a police officer adjudicated by a state or federal court to have
           violated the civil rights of citizens.

 264.      The Unitcd States First Circuit Court of Appeals has held that municipalities as well as
           individual police officers may be held liable under section 1983 where deficiencies in
           supervision or training cause violations of civil rights.

  265.     On April 30, 1996, the United States First Circuit Court of Appeals, in the case of Joseph
           Consolo v. George, et. al., held that two WPD officers had been deliberately indifferent
           to the medical needs of an arrested citizen and assessed damages against them in the
           amount of $90,000.00 as a result of their failure to allow prompt access to medical care.

  266.     Not one of the officers implicated in the suit by Joseph Consolo was ever disciplined,
           sanctioned, or reprimanded as a result of the arrest and maltreatment of Mr. Consolo.

  267.      In Jaroszuk v. City of Worcester, et al. Worcester Superior Court, CA No. 02-0293A, Mr.
            Kevin Jaroszuk alleged he sustained six broken ribs as a result of being thrown into a
            toilet, while restrained in handcuffs, and none of the officers who interacted with Mr.
            Jaroszuk was ever disciplined.




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268.    In Charles Evangelista v. City of Worcester, Shane Marcotte, Jason Fanion, Daniel
        Fallon, II, Jonathan Cotter, James Johnson, Carl Supernor US. District Court 05-
        10311Mb w (“Evangelista”) was dragged by officers through the hallways of the police
        station and beaten and kicked, resulting in the rupture of Mr. Evangelista’ s bladder, and
        none of the officers who interacted with Mr. Evangelista was ever disciplined.

269.     Evangelista claimed that the dragging and beating was caught on tape.

270.     He also alleged that one of the officers reviewed the tape of the beating and after viewing
         the tape he then “caused the videotape of the Evangelista booking to be erased in its
         entirety.” Complaint ¶ 25.

271.     Instead of investigating the allegations by Evangelista, Chief Gemme told Reporter Scott
         Croteau of the Telegram & Gazette, “I have absolute faith in the officers and supervisors
         who were at the scene that day...”, “I do support the officers but I also respect the City’s
         decision based on risk assessment.” (Source Telegram & Gazette, October 27, 2006).

272.     Chief Gemme also concluded that “When you buy into risk assessment you have to say
         you are willing to absorb some costs.”

273.     Chief Gemme told reporters that the videotape system used during the Evangelista
         booking “erased accidentally” because the officers working the system that night were
         “fairly new at it.”

 274.    The Chief did not investigate or ask that V/PD personnel investigate the circumstances of
         the Evangelista beating.

 275.     Genime agreed with the City’s decision to pay Charles Evangelista $250,000.00.

 276.     In Daniel Houde v. Robert Turgeon, Stephen Gunnerson, Kevin Johanson, Matthew
          D ‘Andrea, Brian Halloran, Thomas Dufk, Sean McCann and the City of Worcester, US
          District Court, District ofMassachusetts CA No. 05-40075FDS, Mr. Houde claimed in
          his federal complaint that he was beaten by this group officers.

 277.     He claimed that on May 20, 2002, police broke into the back of his car, while some
          officers went to the front and he was beaten ferociously “about the head and the face
          without any warning or provocation. The officers used theft fists, their shod feet and
          flashlights during the beating until Houde was no longer conscious.”

 278.     Houde filed a federal civil rights action in May 17, 2005 at the same time that Gemme
          was serving as Chief of Police.

 279.     The complaint alleged “Houde was unarmed. Yet, all of the named defendant police
          officers participated in the beating, and dragged Mr. Houde’s body from his vehicle. Id.
          at ¶ 50.~
  ~ According to the complaint none of the officers involved in the Houde arrest suffered any injuries. Id. at paragraph


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280.         In Houde’s case none of the officers who assaulted with him were ever investigated or
             disciplined, even though Houde was diagnosed with nine (9) bilateral facial fractures.
             Complaint at ¶ 57.

281.         Instead of investigating the allegations by Mr. Houde Chief Gemme told Telegram &
             Gazette Reporter Lee Hammel on FebruarY 18, 2008 that “The police used reasonable
             and necessary force to effect the arrest” of a suspect who was violently resisting and
              assaulted the arresting officer and back up officers.”

282.          Chief Gemnie added that the officers acted “properly and with restraint” and that prompt
              medical attention and procedures were followed including those requiring when a suspect
              is injured or equipment such as pepper spray is used.”

 283.         Chief Gemme failed to tell the Telegram & Gazette why his department failed to
              investigate the allegations that flashlights, shod feet, and fists, had been used to strike
              Houde repeatedly, and failed to investigate it as a critical incident because of serious
              nature of the injuries.

 284.         Federal Judge F. Dennis Saylor, Jr. wrote on September 30, 2007 in an opinion denying
              summary judgment to the City of Worcester and various WPD officers on the excessive
              use of force claim that he saw “disturbingly graphic photographs showing severe facial
              swelling and bruising, blurry vision, abrasions on his arms and legs and a laceration to
              above his left eye.”

  285.         In denying the City’s motion Judge Saylor stated “What began as a traffic stop for a
               minor violation rapidly escalatcd into a physical altercation, in which Houde was
                severely beaten and sustained substantial physical injuries. Viewed from the standpoint of
                an objectively reasonable officer, Houde’ s resistance to defendants’ efforts to handcuff
                him may not have warranted such an extreme response. A reasonable officer may not
                have believed that defendants’ conduct was appropriate. Under the circumstances,
                defendants are not entitled to qualified immunity.”

   286.         Chief Gemme told the Telegram & Gazette there was no investigation of the Houde
                incident because Houde “did not file a complaint with the department.”

   287.         No investigation was ordered by Gemme, O’Brien or the City into Houde’ s federal
                complaint allegations, which evinced a reckless disregard amounting to deliberate
                indifference to the rights of its citizens.

       288.      In Houde, in Evangelista, and in other cases, the Chief, Michael O’Brien and the City
                 have chosen to ignore the circumstances of the beatings.

       289.      The City agreed to pay Houde $100,000.



       54.

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290.     In recent years the number of citizens who sustain facial fractures when arrested by
         Worcester Police has increased.

291.      Although Chief (lemnie and the City are aware of these cases, they have failed to start
          their ~ westigati0n into them or to ascertain why these cases are happening with such
          frequency and severity.



 292.         On March 20, 2007, Jobn Doe I had his head smashed into a building wall before being
              kicked in the ribs when he fell.

 293.         Doe I had to be taken to UMass with myriad facial injuries, and blood spatters on the
              wall of the building against which he was slammed were clearly visible after the fact.

  294.        Doe I was charged with an open container, resisting and disturbing the peace

  295.         It should have been clear to the person that booked him that he had j~t been beaten by an
               officer, but on information and belief, no inquiry was made.

  296.         Doe l’s medical records show “dia~osi5 of Assault, R Frontal Sinus FX and R
               ~axillary Sinus FX.”

                        e2

   297.         On septembet 24,2003, Doe 2 was pulled from the vehicle, thro~ to the pound, and
                then kicked in the head by a number of Worcester police.

   298.         As he was beaten, Doe 2 heard one of the officers yell “cameras,” when a Tele~am &
                Gazette reporter arrived on scene with his camera.

       299.      In photo~aPhS~ Doe 2 can be seen bleeding and handc~ed on the pavement~ adjacent to
                 the truck’s passenger door, from which he was pulled.

       300.      One Worcester officer involved in that arrest said he had used a palm heel strike.

       301.      At the U Mass Memorial hospital, while still in c~tody, Doe 2 was told Ms eyesockets
                 had been broken.

        302.      Doe 2 told ~mergeflcy Room doctor that his face looked the way it did because the police
                  had beat him up.

        303.      No ~D officer or supervisor asked this ER doctor how Doe 2 had suffered his facial
                  fractures.




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304.      Doe 2 had suffered small blowout fractures of the inferior and medial walls of left orbit
          with associated mild clouding of a number of ethmoid aircells.

305.      worcester police were present when health care personnel told Doe 2 he had suffered
          facial fractures, but none of the WPD reports mentioned facial fractures, instead using
          euphemistic words such as “facial contusions”.

          John Doe 3

306.      On March 9, 2008, John Doe 3 was struck to the left facial area with a closed fist, when
          the officer perceived “Doe 3 appeared to raise his left arm toward me.”

 307.         Due to “left facial swelling”, Doe 3 was brought to Memorial Hospital for treatment (per
              cellroom dept policy).

 308.         Doe 3 was charged with B+E, malicious destruction of property, larceny and resisting
              arrest.

 309.         Doe 3 was diagnosed with “several broken bones in left side of face” “Amb. to ED
              stating WPD “beat me up”.

  310.        Doe 3 was sent home with facial fractures instructions and “it is really important that you
              follow up with plastic surgery and opthomology (sic).”

  311.         Doe 3 had “1) comminuted left orbital floor and lateral wall fractures with herniation of
               orbital fat into the left maxillary sinus; 2) comminuted fractures of the walls of the left
               maxillary sinus, without evidence of zygomatic arch or pierygoid plate fracture.”

                        e4

  312.         On June 27,2009, John Doe 4 was struck in the face with a closed fist and smashed
               against a wall.


   313.         The incident report prepared by the worcester police officer makes no mention of hitting
                the suspect.

   314.         UMass Memorial records reflect a July 2,2009 CAT scan and evaluation by
                opthamology.

   315.         Doe 4 had suffered a “depressed left frontal sinus fracture of the anterior wall,
                nondisplaced fractures of both zygomatic arches and both lateral orbital walls.. .we did
                discuss the option of possible surgical repair of the anterior wall of the frontal sinus with
                plates and screws..

       316.      Doe 4 was given contact information for follow up with a plastic surgeon.


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          JohnDoe 5

317.      On July 10, 2009, John Doe 5 was viciously punched and kicked in the head, and his
          head slammed into a wall, causing him to bleed from his eye.

318.      When Doe 5 asked to be taken to the hospital he was told to shut the fuck up, and taken
          to the police station for three hours before the police noticed Doe 5 was severely injured.

319.      Doe 5 told a booking officer he had been beaten and the officer told Doe 5 he must have
          resisted arrest.

320.      Doe 5 was booked and not provided medical care, but it should have been clear to the
          person that booked him that he had just been beaten by an officer.

 321.     His medical records show he sustained an orbital fracture.
                                 The Case of Michael Nlelendez

 322.      Lt. O’Connor was sued in 1991 on allegations that he violated the civil rights of a citizen.
           Michael Melendez, Maria Melendez, Diana Melendez, Raymond Zayas and Isaac Ortiz.
           U.S. District Court ~~Massachusett5 91-40174XX.

 323.      The complaint alleged that Sgt. O’Connor and others came out of from behind the
           counter of the waiting area at the WPD and that then Sgt. O’Connor grabbed Ms.
           Melendez from behind, pulled her across the room and “repeatedly slammed her against a
           nearby wall, pushing Ms knee against her stomach.” Complaint at ¶ 31.

  324.     The complaint also alleges that “Sergeant O’Connor kicked Maria Melendez between the
           legs and kicked her legs out from under her so that she fell to the floor. Id. at 32.

  325.      The Complaint also alleges that when Sgt. O’Connor and another officer were
            transporting Ms. Melendez to the booking room and Ms. Melendez complained that the
            handcuffs were too tight that “Sergeant O’Connor tightened the cuffs.” Id ¶ 48.

  326.      The complaint alleges that when she was booked she complained to the booldng officer
            about what Sgt. O’Connor had done to her. Id. paragraph 52.

  327.      Upon information and belief, Sgt. O’Connor was never disciplined as a result of the
            allegations made in this federal complaint.

   328.      On or about March 21, 1995, the City and Mr. Melendez lawyer’s filed a settlement order
             with the United States District Court.




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                                         COUNT 1
                                  42 U.S.C. § 1983/Monell
                                    ALL DEFENDANTS

329.     Each of the foregoing paragraphs is incorporated as if fully set forth herein.

330.     Defendant McGee put plaintiff in harm’s way and demonstrated behavior that was
         reckless, callous and deliberately indifferent to Mr. Hayes’ safety.

331.     By its longstanding policy of not investigating critical incidents and not disciplining
         officers when citizens are injured, defendant Worcester and Chief Gemme and Mayor
         O’Brien condoned defendant McGees’ s misconduct, led defendant McGee to believe he
         would not be held to account for his actions, and put plaintiff in harm’s way.

332.     Worcester and the WPD have consistently condoned dangerous behavior that is reckless,
         callous and deliberately indifferent to citizen health and safety.

333.     Mr. Hayes’ safety was compromised knowingly, intentionally, willfully, purposely,
         maliciously and with such reckless disregard of the consequences as to display a
         conscious indifference to the danger of harm to him.

334.      As a direct and proximate result of the foregoing, Mr. Hayes was deprived of his rights
          under the Constitution and caused great pain of body and mind.

                                           COUNT 2
                                 NEGLIGENCE, M.G.L. c. 258
                                   CITY OF WORCESTER

 335.     Each of the foregoing paragraphs is incorporated as if fully set forth herein.

 336.     On or about August 16, 2007 plaintiff’s counsel gave notice and presentment to Gary
          Gemme, Chief of Police and Captain John Harrington of the Internal Affairs Department
          in accordance with the Massachusetts Tort Claims Act. M.G.L c. 258 et seq.

 337.     Plaintiff complied with all conditions precedent and the recipients failed to respond with
          an offer of settlement within the sixth month time period required by state law.

 338.      As a direct and proximate result of the negligence of the defendants, Mr. Hayes suffered
           severe emotional distress, great pain of body and mind.
                                           COUNT 3
                                          CONSPIIt&CY
 Defendants Darnell McGee. James O’Rourke, Kenneth Davenport and Timothy O’Connor

  339.     The plaintiff incorporates the above paragraphs by reference into this count as if fully set
           forth herein.


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340.    These Defendants did conspire to hide McGee’s flashlight knockout of Anthony Hayes.
                                        COUNT 4
                                ASSAULT AflD BATTERY
                                 Defendant Darnell McGee

341.     The plaintiff incorporates the above paragraphs by reference into this count.

342.     Defendant McGee committed the common law torts of assault and battery against the
         plaintiff.

343.     As a direct and proximate result thereof, the plaintiff suffered the injuries described
         above.

                                      COUNT 5
                               SUPERVISORY LIABILITY
                   Defendants Gemme. O’Connor. O’Brien and Davenport

344.     The plaintiffs incorporate the above paragraphs by reference into this count.

345.     These defendants were both responsible for appointing (hiring), training, disciplining,
         firing and supervising Defendant McGee.

346.     Each deliberately or recklessly and sanctioned, allowed, and condoned acts of
         misconduct to occur, including acts of excessive use of force, and denial of access to
         medical care.

 347.    Each by their acts and omissions adopted, continued and perpetuated the policies and
         practices of their predecessors in failing to monitor, control and remediate excessive and
         unnecessary use of force by Worcester police officers and otherwise disregarding the
         civil rights of citizens who come into contact with said officers by failing to appropriately
         hire, train, monitor, investigate, discipline or dismiss officers of their respective
         departments as alleged herein.

 348.     By the same actions described above, these defendants deprived the plaintiffs of clearly
          established and well settled rights under the Constitution of the United States including
          the rights under the First, Fourth and Fourteenth Amendments.

 349.     These defendants acted with reckless disregard for the plaintiffs’ constitutional rights.

 350.     Their actions, inactions, or omissions were the moving force behind plaintiffs’ injuries.

 351.     As a direct and proximate result of the conduct, plaintiff was harmed as described above.




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                                   COUNT 6
            MASSACHLJSE117S CIVIL RIGHTS ACT, M.G.L. c. 112 § 1 IIM
               Defendants McGee, Davenport, O’Connor and O’Rourke

352.    The plaintiff incorporates the above paragraphs by reference into this count as if fully set
        forth herein.

353.     These Defendants deprived the plaintiff of his rights under federal and state law by
         threats, intimidation and coercion, thereby violating the Massachusetts Civil Rights Act.

354.     As a direct and proximate result of the aforesaid unlawful conduct, the plaintiff suffered
         the injuries described herein.

                                      COUNT 7
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                  DARNELL MCGEE

355.     Plaintiff repeats and reavers all of the allegations contained from Paragraph 1 through
         352 as if expressly rewritten and set forth herein.

356.     The conduct of McGee constituted intentional infliction of emotional distress.

357.     By his actions, defendant McGee subjected the plaintiff to reprehensible conduct
         knowingly, intentionally, willfully, purposely, maliciously and with such reckless
         disregard of the consequences as to display a conscious indifference to the danger of
         harm and injury.

358.     As a direct result of the intentional conduct of the defendants in this count, Mr. Hayes
         suffered severe emotional distress and great pain of body and mind.

                                      DEMANDS FOR RELIEF

        The Plaintiff hereby respectfully requests the following relief:

1.        All compensatory damages recoverable;
2.        Injunctive relief;
3.        All punitive damages recoverable;
4.        All attorney’s fees, costs and expenses allowable;
5.        Any and all other relief as the Court deems just and proper;
6.        That defendants be found joint and severally liable

       PLAINTIFF DEMANDS A JURY TRIAL AS TO ALL COUNTS IN TIlE COMPLAINT




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                                  Respectfully submitted,
                                  Plaintiff ANTHONY HAYES
                                  By his attorneys,


                                   HectotE1~ineirO, BBO #555315
                                   Robert H. Beadel, BBO # 632447
                                   807 Main Street
                                   Worcester, MA 01610
Dated: April 27, 2010              Tel. (508) 770-0600
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                                  CERTIFICATE OF SERVICE

         I, Robert Beadel, do hereby certify that no party has yet been served in this action, and
therefore, there is not yet any attorney or party to serve with this motion.

DATED:          ~Q      ~H. Beadel
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                                 COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss.                                                                SUPERIOR  COURT
                                                                              CRININA6~ACT10N
                                                                              NO. O2-1767~3 1768

                                COMMONWEALTH OF MASSACHUSETTS,
                                                       vs.

                              MAXIMINIA ALTAGRACIA and ISIDRO ARIAS,
                                            Defendants

       FINDINGS OF FACt CoNC~g~g~ ~


                 The defendants, Maxiitinia Altagracia (“Altagracia”) and Isidro Arias (“Arias”), have

 moved to suppress any and all evidence resulting from the search of their home at 138 Endicott

  Street Apartment 1, in Worcester and from the interrogation that occurred jrnmediately prior to

  and during this search. An evidenti~rY hearing was conducted on this motion over three days                —




  July 15, 2003, July 28, 2003, and August 1, 2003           —   at which six witnesses testified. For the

      reasons detailed below, the defendants’ motion to suppress

      DENIED ~ p~T.
                                               FIN])INGS 0? FACT

                  Officer Richard Burgos of the Worcester Police Department had a confidential informant

      (“Cl”) whose information had proved reliable in the past and led to narcotics arrests and the

       confiscation of narcotics on at least five prior occasions. This CI told Officer Burgos that dnigs

           were being sold from the first floor apartment at 138 Endicott Street in Worcester by a Hispanic

           male in his late forties, with a dark complexion, medium build, and short hair. The CI said that

           this dmg dealer used a Ford Escort for delivering the narcotics, and pxovided Officer Burgos with



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the license plate number. The CI had made two drug buys from this drug dealer at his first floor

apartment at 138 Endicott Street while Officer Burgos conducted a physical surveillance of this

address, the most recent being roughly two weeks before April 11, 2002. On two occasions in

the months before April 11, Officer Burgos followed the Hispanic male described by the CI as he

left 138 Endicott Street, entered the Ford Escort with Ms wife, and drove to different locations to

meet with people in Ms car in what appeared to drug transactions.

        At some time prior to April 11, 2002, the CI had agreed to make a controlled buy of

 narcotics from this individual at 138 Bndicott Street on April 11. The plan of the Vice Squad, of

 which Officer Burgos was a member, was to follow the controlled buy with a search of

 Apartment 1 at 138 Endicott Street. In keeping with this plan, the Vice Squad, led by Sgt.

 Timothy O’connor, was mobilized to conduct a physical surveillance of this location on the

 morning of April 11 to await the controlled buy and then conduct the search of the apartment.

         Officer Burgos arrived in the Honey Farms parking lot behind 138 Endicolt Street bcfore

  8 a.m. to await his Cl; other Vice Squad officers arrived at their locations for the physical

  surveillance between 8 a.m. and 9 a.m. The CI, however, never showed up; nor did the CI call

  Officer Burgos that morning.

          At roughly 10:30 a.m, Officer Burgos observed Arias, who fit the description provided

  by the CI, leave 138 Endicott Street and come out to the Ford Escort identified by the CI. While

   Arias was outside, a grey Ford Lumina arrived in front of 138 Endicott Street and the vehicle’s

   passenger, later identified as Michael Legor, left the veMcle, spoke briefly with Arias, and

   followed Arias inside 138 Endicott Street. The driver of the vehicle drove the Lumina around the

   corner to Vernon Street and parked it there, even though there were available parking spaces on

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Endicott Street. Roughly one minute later, Legor left 138 Endicott Street, walked around the

corner to Vernon Street, and entered the Lumina, which then drove away. Another Vice Squad

officer involved in the physical surveillance, Officer Larry Williams, recognized Legor and knew

him to be a heroin addict. He radioed his fellow Vice Squad officers that he knew Legor and was

going to follow him. Two unmarked police cruisers went in pursuit of the Lumina the vehicle
                                                                                    —




with Officer Williams and his partner, Officer Bates, and another vehicle driven by Officer James

 O’Rourke. Officer Williams waited until the Lumina was near the Rice Square School, roughly

 two miles away from 138 Endicott Street, before he turned on the blue lights and stopped the

 Lumina.

         Officers Williams and Bates searched and questioned Legor, while Officer O’Rourke

  searched and questioned the driver, George Fayard. Legor had no drugs on his person, but

  admitted to Officer Williams that he bad just purchased heroin from 138 Endicott Street. Officer

  O’Rourke found a small grccn vial containing roughly one ~am of heroin in Fayard’s pocket.

  Both Legor and Fayard were placed under arrest. When Officer Williams informed Sgt.

   O’Connor by radio that they had found heroin on Fayard, S gt. O’Connor arrived at the arrest

   location and conferred with the arresting officers. There, Sgt. O’Connor made the decision that

   they would enter and search 138 Endicott Street, Apartment 1. Sgt. O’Connor’s plan was to

   arrange for a uniformed officer to knock on the door of the apartment and tell Arias that there

   was an accident involving his Ford Escort. Once this ruse succeeded in getting Arias out of the

    apartment, the Vice Squad officers were to enter the open door and secure the apartment through

    a protective sweep. Sgt. O’Connor radioed for a uniformed police officer to meet him at the

    parking lot of the Vernon Medical Center, which was a short distance from 138 Endicott Street.

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At this parking lot, Sgt. O’Connor met with Officer O’Rourke and the uniformed officer, Officer

Kenneth Kozak, and explained the plan to them. He communicated the plan to the other Vice

Squad officers via radio.

       Meanwhile, Officer Williams waited near the Rice Square School for the patrol wagon to

take Legor and Fayard to the police station for booking. When the patrol wagon anived roughly

fifteen minutes later, he told the wagon officers to attempt to stall Legor and Fayard from making

 any telephone call in the booking area. Their cell phones had been confiscated at the time of

 their arrest, so their first opportunity to make a telephone call would have been at the pay

 telephone in the booking area.

         The uniformed officer (Officer Kozaic) carried out the ruse, and it worked as planned.

 Arias left the apartment voluntarily with Officer Kozak to loolc at his car and, once he left the

 apartment, he was confronted outside by Sgt. O’Connor while other Vice Squad officers entered

  the open door and conducted a protective sweep. Altagracla had been in hcr nightgown in the

  bedroom, and was brought to the kitchen table. Sgt. O’Connor and two other officers escorted

  Arias into the apartment, and he joined Altagracia at the kitchen table.

          Officer Burgos was the only fluent Spanish-speaker in the Vice Squad who was at or

  around 138 Bndicott Street, and he was summoned to Apartment I to serve as the interpreter for

   Sgt. O’connor’s interrogation of Arias and Altagracia) When he arrived, Sgt. O’Connor and

   Officer O’Rourke, as well as other members of the Vice Squad, were already inside. Sgt.

   O’Connor directed Officer Burgos to give Arias and Altagracia their Miranda rights, and Officer



                   Officer Williams is also fluent in Spanish but he was not yet there, having waiting
   for the patrol wagon to pick up Legor and Fayard.
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Burgos advised them of their rights in Spanish. He asked if they understood their rights, and they

said they did. He explained that they were there because drugs were being sold from their

apartment, and they had found drugs on a white male who had just left the apartment.

Meanwhile, Officer Williams entered the apartment and remarked on the boffle of inositol that

was in plain view in the icitchen. Arias, in Spanish, explained that he used it for body building.

Officer Burgos asked Arias for consent to search the apartment. Arias initially said they could

 search but, when Officer Burgos asked him to sign a consent form, Arias refused to sign anything

 and quickly revoked his consent. Sgt. O’Connor then said they would not search without an

 executed consent form, and directed Officer Williams to obtain a search warrant for the

 apartment.

          The Vice Squad officers waited in the apartment with Arias and Altagracia for roughly 1

 ½- 1 3/4 hours, when Officer Williams returned with the search warrant. They then executed the

  search warrant, finding the heroin, currency, and drug paraphernalia that is the subject of this

  motion to suppress. While they waited for the warrant, Officer Burgos spoke in Spanish with

  both Arias and Altagracia.
                                      CoNcLUSIONS OF LAW

           I will address each of the defendants’ suppression claims in turn.

   1.      Was th~e Vice Squad’s Initial Entry, into the Ap~rtrn~!itLaWfuhI

           a.      Did Arias Conscnt to this Initial Entryt

            Sgt. O’Connor testified that Arias consented to the police entry into Apartment 1 when he

   confronted M-ias after the uniformed officer had persuaded Arias to leave the apartment through

   the ruse. According to Sgt. O’Connor, once Arias was outside the apartment, he approached

                                                     5
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Arias, introduced himself, and advised him of his Miranda rights in English. (Sgt. O’Connor

does not speak Spanish.) Arias answered, “yes,” to the question of whether he understood his

rights. Sgt. O’Connor said that he explained to Arias that the police had observed a drug

transaction at his residence that morning, that both of the individuals involved were under arrest,

that both were found with heroin, and that both said they had bought it from him. Arias denied

knowing anything about these individuals. He asked Arias if there were any other drugs in the

apartment, and Arias said there was not. He asked Arias if there was anyone still in the

apartment, and Arias said that his wife was there. He asked Arias if they could go inside to look

for drugs, and Arias said that they could. It was then that Sgt. O’Connor told the other officers to

 enter the apartment. He instructed them to secure the apartment but not to search it. He then

 entered the apartment with Arias.

        This Court does not believe this testimony. After careful consideration, this Court has

 come to the conclusion that S gt. O’Connor intended to lie to the Court by falsely fabricating

 consent to enter the apartment to avoid the legal difficulties ofjusti~’ing the entry without such

 consent. This Court, as noted in the Findings of Fact above, finds that officers from the Vice

 Squad entered Arias’s apartment to conduct a protective sweep as soon as Arias left the      -




 apartment through the ruse and was confronted by Sgt. O’Connor, and that Arias did not consent

 to this initial entry?

         This Court has reached this conclusion for at least six reasons. First, Sgt. O’Connor



         2        In view of this fmding, this Court directs the District Attorney to provide a copy
  of this decision to the Chief of the Worcester Police Department so that consideration can be
  given to whether disciplinary action against Sgt. O’Coimor is appropriate. Of course, the District
  Attorney is responsible to determine whether these facts warrant a pei~ury investigation.
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testified that, before the ruse was implemented, he had already decided that they would enter the

apartment, secure it, and later search it, regardless of whether or not Arias gave his consent.

Since he had not yet sent anyone to obtain a search warrant, this means that he did not believe

that he needed Arias’s consent to justitS’ the initial entry and the protective sweep. It is not

credible that he would postpone the initial entry into the apartment in the hope of procuring a

consent that he did not believe legally he needed, when doing so would have risked warming

 anyone else in the apartment that the police were present outside?

        Second, Officer 0 ‘Rourke testified that S gt. O’Connor spoke with him and the uniformed

 officer at the Vernon Medical Center parking lot about the ruse minutes before it was

 implemented, and nothing S gt. O’Connor said indicated that the entry into the apartment was to

 await the receipt of consent by Arias. Rather, the plan was to bring Arias out of the apartment

 through the ruse, take him into custody, enter the apartment through the unlocked door that Arias

 had just exited, and secure the apartmbnt. There was nothing said about waiting for Arias’s

 consent before the officers were to enter the apartment. Officer O’Rourke also was present when

 the ruse was implemented and the entry accomplished. He testified that Officer Lombardi was

  the first officer to enter the apartment, and that he entered, at most, one minute after Arias had

  left the apartment through the ruse. It would have taken much more than one minute for Sgt.

  O’Connor to have had the discussion he described with Arias that preceded the purported consent

  to enter. Officer O’Rourke also did not testify that Sgt. O’Connor informed Officer Lombardi of

  Arias’s consent before Officer Lombardi entered; if Officer Lombardi’ s entry was to await such



                Sgt. O’Connor testified that he knew before the ruse that Arias lived at the
  apartment with Ms wife.
                                                      7
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consent, Sgt. O’connor would have needed to communicate that consent to Officer Lombardi

and Officer O’Rourke would likely have heard it communicated.

       Third, Sgt. O’Connor testified that, once he obtained the consent, he told other officers to

go inside and he quickly followed them inside with Arias. However, by the time he arrived,

Altagracia was already seated at the kitchen table, having been pulled from her bed, where she

had been when the police first arrived. This means that, by the time Sgt. O’Connor had arrived,

the protective sweep had already been completed and Altagracia had been roused from her bed

 and seated at the kitchen table. If Sgt. O’Connell had waited for Arias’s consent to enter before

 the police commenced the protective sweep, and then promptly followed up on the consent by

 entering the apartment with Arias, as he testified, there would not have been sufficient time for

 the sweep to be completed and for Altagracia to be brought to the kitchen before Sgt. O’Connor’s

 arrival. If the protective sweep, however, had commenced when S gt. 0’ Coimor first confronted

 Arias, there would have been enough time for the sweep to have been completed and for

 Aitagracia to be brought into the kitchen prior to S gt. O’Connell’s arrival.

         Fourth, if Sgt. O’Connor had twly obtained Arias’s consent to go inside the apartment

  and look for drugs, as he testified, the police would have commenced their search of the

  premises, and not limited their efforts to a protective sweep. Sgt. O’Connor admitted that he did

  not, as a matter of practice, always require a written consent fonn to be signed before

  commencing a search if oral consent had been given. If he had oral consent, there is no reason

  why he would have delayed the search in order to obtain written consent. Indeed, neither Arias

  nor Altagracia were asked to sign a Miranda card after they had been given their Miranda rights

  at the apartment, but Sgt. O’Connor certainly did not delay obtaining admissions from either

                                                     8
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Arias or Altragracia before obtaining a written waiver of their Miranda rights.

          Fifth, Sgt. O’Connor did not prepare a police report regarding the events that occurred on

April 11, 2002. He testified that if was his practice to prepare a police report only when he had

important information that no other police officer on Ms squad had knowledge of and could

include in their own report. Since no other police officer was present when Sgt. O’Connor

spoke with Arias and purportedly gave his consent to enter the apartment to look for drugs, one

would certainly expect that Sgt. O’Connor, in keeping with Ms practice, would have prepared a

 report memorializing that discussion and that consent. The absence of any such report suggests

 that no such consent was given. The explanation that Sgt. O’connor offered at the hearing     —   that

 he did not think Arias’s consent to enter the apartment was important enough to require a police

 report   .—   is simply not credible.

           Sixth, Sgt. O’Connor testified that Arias spoke in complete sentences in English when he

 answered the questions that were posed to him by SgL. O’Curnnor in English. This Court is

 persuaded by the testimony offered by Arias’s friends, Kenia Camacho and Milagros Alicier,

  both of whom testified that Arias spoke no English, that Arias did not know enough English to

  speak in complete English sentences.4 Sgt. O’Connor also testified that, since Arias had no

  difficulty speaking English, he used Officer Burgos to tsanslate only for Altragracia, not for

  Arias. Officer Burgos, however, testified that he served as Sgt. O’Connor’s translator with both

  Arias and Altagracia. Officer O’Rourke also testified that Officer Burgos served as the


                  It is difficult for this Court to determine whether Arias spoke any English, since
   the only time that either Camacho or Alicier were with Arias when English was spoken to him
   was when Arias was conferring with his attorney or Altagracia’s attorney. However, this Court is
   convinced that, even if Arias understood some English and spoke some English, he did not know
    enough English to speak consistently in complete English sentences.
                                                      9
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interpreter whenever Sgt. O’Connor spoke with Arias in the apartment.

       Consequently, this Court finds that Arias did not, in fact, consent to the Vice Squad’s

initial entry into Apartment I. This Court must then consider whether there was any other basis,

apart from consent, to justi~’ this initial entry and protective sweep.

        b.        Was the Initial Entry and Protective Sweep Justifi~ib3LE4ieUt
                  Circumstances?

        The commonwealth contends that, even without consent, the police were justified in

entering Apartment 1, conducting a protective sweep, and securing it while they waited for a

 search warrant because of the risk that contraband or evidence would be destroyed or removed if

 they delayed. According to the Commonwealth, the exigency that justified entering and securing

 Apartment 1 was the risk that Legor or Fayard would telephone Arias (or telephone someone else

 who would, in turn, telephone Arias), and inform him of their arrest following Legor’ s purchase

 of heroin from Arias (and possibly of Legor’ s admission to the police that he had just purchased

 heroin from Arias). Such a telephone call, contends the Commonwealth, would tip off Arias to

 the likelihood of an imminent search of his home, and pose a substantial risk that Arias would

 destroy or remove any contraband or evidence from his home before a search warrant could be

  obtained and the search executed.

             In Commonw~ith v. Delesus, the Supreme Judicial Court declared:

             We now hold that police officers who secure a dwelling while a warrant is being sought
             in order to prevent destruction or removal of evidence may not enter that dwelling, in the
             absence of specific infonriation supporting an objectively reasonable belief that evidence
             will indeed be removed or destroyed unless preventative measures are taken.

  439 Mass. 616, 621 (2003). While the Court declared that, for purposes of deciding the llcjcsus

  case, it “need not determine with precision the minimum requirements that would justify such an

                                                      10
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entry,” jj at 623, its rejection of the commonwealth’s claim of exigency in that case malces it

clear that it would also reject the Commonwealth’s claim of exigency in the instant case.

       In Deles      ,   an undercover police officer purchased 300 grams of cocaine from an

individual named Rocky Graciano as the defendant sat in the car that Graciano used to deliver the

cocaine.        at 617. Both the defendant and Graciano were arrested immediately following the

undercover drug purchase. Ii After his arrest, Graciano agreed to cooperate with the police,

 and told them that the defendant was his supplier and had provided Graciano with the cocaine

 that he had sold to the undercover officer. Id. at 617-618. As a result of the information

 provided by Graciano, the police considered applying for a search warrant for the defendant’s

 residence but were not sure which apartment in the three-decker where he lived was his.          at

 618. The police, therefore, used a key that was taken from the defendant at the time of his arrest

 to open the door of the apartment that (3raciano thought belonged to the defendant.     a      The key

 worked, and the officers entered the apartment and conducted a protective sweep to see if anyone

  was inside.   a        Finding the apartment empty, the police observed cocaine and cocaine

  packaging equipment in plain view on the kitchen table before they left to prepare the search

  warrant application. Ii

           The Dejesus Court found that the facts in that case were plainly inadequate to

  demonstrate the exigency needed to justif3’ a warrantless entry to secure the apartment while

   awaiting receipt of the search warrant.     a at 623.    The Court declared:

           The Commonwealth asserts that the risk that others knew of the defendant’s arrest and
           that one or more individuals inside his apartment might have removed or destroyed
           evidence before a warrant issued justified the officers’ limited search of the premises for
           occupants. Adoption of this reasoning, however, would allow police officers to enter a
            suspect’s home every time an arrest is made, so long as police have probable cause to

                                                       11
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      believe that evidence might be found therein. There always will be a possibility that a
      confederate of the arrestee might destroy or conceal evidence. We decline to hold that an
      arrest on the street, without more, can provide its own justification for a warrantleSs entry
      and search, albeit a limited one, of a dwelling.

~ at 622-623.
       The                    sjcation for the warrantless entry is weaker here than it was in

D~j~us. In ~ it was a resident of the apartment who was arrested; here, it was two

mthviduals who did not live in the residence, and whose relationship to Arias was believed

 smjp~y to be that of a narcotics purchaser In 2~Ic~us a state trooper prior to the warrantless

 entry had overheard & wo~an in Graciano’s apartment tell an unknown caller that Graciano had

 been arrested. jj at 61 9.~ Here, there was no information that anyone other than Legor and

 Fayard lcnew of their arrest. Here, the police feared that Legor or Fayard may telephone Arias

  and tip him off about their arrest, but the evidence was clear that such a call could only be made

  by them from the pay telephone in the booking area. Officer Williams had asked the patrol
  wLagdn officer to delay their use of this telephone Even if they made a telephone call from this

  pay telephone, m        of its location near the booking desk, it would be easy for the police to

   overhear wh~••at Légbr or Fayard said. consequently, if Legor or Fayard were going to tip off

   Arias about their arrestañd warn him of a search, the police would have had the opportunity then

   to ether and secure the apartment. SQe commonWeal% v. j~i~c, 367 Mass. 798, 801 (1975)

   (arrestee’ s statement to compatriots to warn occupants of his aparftneflt could supply exigent

    circumstances permitting warrantless entry of apartment). Finally, in ~J~us, tbe police needed

    to use the key in order to confirm that the apartment they planned to search belonged to the

    defendant. Here, the police had not even be~n to prepare the search w~ant affidavit when they


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entered the defendants’ residence.

       Nor can the commonwealth justi~’ the warrantless entry by claiming that, once they

arrested Arias outside the apartment~ they feared that Altagracia would destroy contraband and

evidence. The police chose to use a ruse to cause Arias to leave the apartment so they could

arrest him, and thereby created the exigency. They could surely have applied for a search warrant

 promptly after the arrest of Legor and Fayard, and postponed Arias’s arrest until the

 commencement of that search. See c~rnfliQnwe~ith v. ~dc, 367 Mass. at 803 (“where the

 exigency is reasonably foreseeable and the police offer no justifiable excuse for their prior delay

 in obtaining a warrant, the exigency exception to the warrant requirement is not open to them”).

  See also ]~Jk~ v. jj.nj!c4 S~tc~~ 388 F.2d 535, 540 (1st Cir. 1968) (haste does not become

  necessary when the need for it is brought about by deliberate and unreasonable delay by the

  police). For all these reasons, this Court fmds that there was not “specific information

  supporting an objectively reasonable belief that evidence will indeed be removed or destroyed

  unless preventative measures are taken” that justified the warrantless entry and protective sweep

   of Apartment 1. See Commonwealth v. ~j~us, 439 Mass. at 621.

           This Court’s conclusion that the initial entry and protective sweep of Apartment I was

   unlawful does not ~utomaticaily require the exclusion of evidence discovered during this entry

   and sweep; it simply requires the suppression of the fruits of this unlawful conduct. ~cL at 624.

    An illegal “entry wduld not be a basis to suppress evidence subsequently obtained unless there is

    a showing that the evidence sought to be suppressed is an exploitation of the prior illegality.”

    commonwealth v. ~ 413 Mass. 823, 830 (1992). In the context of this case, that means, at a

    minimum, that this Court must suppress any statements that were made by the defendants and

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any observations made by the police during the time period from the initial entry into the

apartment until Officer Williams returned to the apartment with the signed search warrant.

                 It also means that this Court must evaluate whethe± there was probable cause to obtain the

search warrant after excising from Officer Williams’ affidavit all references to observations that

were made by the police following their entry into the defendants’ apartment? specifically, that

 means that this Court must exclude from Officer Williams’ affidavit the information regarding

 (1) the observation of the Inositol bottle and the proctor-Silex grinder on the kitchen shelves, and

 (2) the observation-of “cut-corner” baggies in the toilet, and evaluate whether the balance of the

  affidavit provides probable cause to believe that contraband or other evidence of drug dealing

  will be found in Apartment 1.

                   Once this information is excised, the affidavit contains the following information

                   a description of Officer Williams’ training and experience in the investigation of

                    narcotics crimes;

   •                that Officer Burgos had a confidential informant C’Cl”) who “had provided information in

                    the past which has proven to be reliable and tme, and has lead to the seizure of ~gs and

                    money resulting in arrests for dmg violations;”

       •             that the C had told Officer Burgos “over the last several days” that the Cl had been

                     buying heroin from a Hispanic male in the first floor apartment of 138 Endicott Street;

           •         that the CI said that this male uses a grey Ford Escort to make heroin deliveries;

           •         that earlier on the morning of April 11, 2002 (the date Officer Williams sought and



                               The affidavit did not refer to any statement made by the defendants to the police,
               so there is no need to excise any such information.
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        obtained the search warrant), Officer Williams and other Vice Squad officers conducted a

        physical surveillance of 138 Endicott Street;

         that during the course of that surveillance, at around 10:30 a.m., a Hispanic male walked

         out of 138 Endicott Street and entered and exited the grey Ford Escort parked outside

         multiple times;

         that the Hispanic male then stood outside 138 Endicott Street, as if waiting for someone

         to arrive, and a Lumina with two white males, Legor and Fayard, stopped in front of 138

         Endicott Street;

         that Legor, who was known by the police to be “heroin dependent,” left the vehicle, spoke

          briefly with the Hispanic male, entered 138 Endicott Street with him, and left a few

          minutes later;

          Fayard, who was driving the Lumina, did not wait for Legor in front of 138 Endicott

          Street but instead parked the car on Vernon Street;

•         based on these observations, viewed in the light of Officer Williams’ training and

           experience, he believed that Legor went to 138 Endicott Street to purchase heroin; and

•          the Luinina was later stopped and, quoting from the affidavit, “Officers did discover

           heroin in there [sic] possession.”

           The defendants contend that the quotation in this last-bullet point should also be excised

    from the affidavit since it was false and was intended to deceive the Magistrate into believing

    that heroin was found on the person of both Legor and Fayard, rather than Fayard alone. Under

    Franics v. Delaware, if the defendant can show by a preponderance of the evidence that an

    affiant’ s assertion in an affidavit was false and was made by the affiant with knowledge of its

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falsity or in reckless disregard of the truth, the Court must excise the false statement from the

affidavit and determine whether the balance of the affidavit establishes probable cause. 438 U.k.

154 (1978). officer Williams testified that this assertion was not false because he believed that

both Legor and Fayard jointly possessed the heroin found on Fayard’s person. This Court fmds

that, at best, this assertion was ambiguous and, at worst, it was deceptive. Based on the evidence

 presented in the affidavit, it was reasonable for the Magistrate reviewing the affidavit to

 understand that heroin was found on Legor’ s person. If it had been made clear in the affidavit

 that heroin was found only on Fayard’ s person, it would have raised a question as to whether it

  was reasonable to infer that Legor had indeed purchased heroin minutes earlier from the Hispanic

  male at 138 EndicOtt Street.

          This Court, however, need not make a finding as to Officer Williams’ intent in choosing

  this language to characterize what the police found when they stopped Legor and Fayard, and

   searched their persons. The reason is that, even if this Court were to redact the information in the

   last bullet point and consider only the information in the remaining bullet points ~ were to

   substitute the tine information for the misleading information that is, treat the affidavit as if it
                                                                    —




   made clear that heroin was found on Fayard’s person but not on Legor’ s person      --   this Co~ still

    concludes that there was probable cause to search the defendants’ apartment.

            Even with this redaction or correction, the affidavit still included information that a CI,

    who had proven reliable in the past, had firsthand knowledge of Apartment 1 at 138 Endicott

    Street being used for drug dealing because he had been buying heroin from that apartment. The

     CI also identified the car used to make drug deliveries. The Cl’s information had been

     corroborated that morning by the observations of the officers conducting the physical

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s~ei1lance of 138 EndicO~ Street, who obse~ed Arias enteñng and etting the car identified by

the Cl and engaging in conduct with a known heroin addict that was consistent with a retail

narcotics sale. The information provided by the CL strengthened by the corroboration arising

from the physical suneillance of 138 EndicOtr Sifeet, was sufficient to suppO~ a finding of

 probable cause. See generally Q      QiawealthV. UpWn, 394 Mass. 363, 376 (1985);

 ç~rnrn~wealth v. ~L~1á, 420 Mass. 646, 651 (1995). ~i1e information con~ing that Legor

 had heroin in his possession immediatelY after this visit would have strengthened this probable

  cause, it was not necessa~t0 a ~ding of probable cause. Nor would probable cause have been

  vitiated if the affidavit had made clear that heroin was f0~d on Fayard’ s person~ but not on

  Legor’ s.

          The defendant ar~1es, correctly, that there can be no finding of probable cause as to the

   search warrant without sufficient facts ~~~onstratrng the reliabili~ of the Cl. The defendant

   contends that the information provided in Officer Williams’ affidavit is inadequate to

    demonstrate the Cl’s reliabili~ because it indicates that the Cl’s information was used to make

    ~g arrests, but is silent as to whether any of these ~ests resulted in convictions. This Co~
    ~~~owledges that the fact that a conndentia’ informant’s information resulted in arrests alone

     does not establish the informant’s veraci~. See ç2~~~wegith v. ~ 411 Mass. 108, 112

     (1991%   c   rnonwealth v. Arni4L 407 Mass. 511, 515 (1990). However, Officer Williams’

     affidavit also declared that the Cl’s ~ormatiofl “has lead to the sei~e of ~gs,” and this

      additional information has been found sufficient to establish an informant’s veraciW. See

      ~~~~wegith v. M~jla, 411 Mass. at 112-113 (inclusion of information regarding seizme of

      narcotics was “critical distinction” be~eefl that affidavit and one which declares s~ply that the

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informant’s information lead simply to arrests); Commonwealth v. ?erez-Baez, 410 Mass. 43,46

(1991).

          Since this Court finds that the search warrant obtained by Officer Williams was supported

by probable cause, this Court denies the motion to suppress the contraband and evidence found

when that search warrant was executed. Considering this ruling in the context of this Court’s

earlier ruling, the Commonwealth may not offer into evidence any statement made by the

defendants in the apartment prior to the arrival of the search warrant, since these statements were

the fruit of the illegal initial entry.6 Nor may the Commonwealth offer into evidence any

observation made by the police officers inside the apartment prior to the arrival of the search

warrant, since these, too, are fruits of the illegal entry. The Commonwealth may offer into

 evidence the contraband and evidence found during the executio~a of the search warrant, as well

 as any observations made by the officers during the execution of that warrant.
                                                ORDER

           For the reasons detailed above, this Court hereby PEPERS that:

 1.        The defendants’ motion to suppress isAIJ1OWEI) to the extent that any statements that

           were made by the defendants and any observations made by the police during the time

           period from the initial entry into the apartment until Officer Williams returned to the

           apartment with the signed search warrant are hereby suppressed; and

 2.        The defendants’ motion to suppress is DENIED to the extent that the Commonwealth

           may offer into evidence the contraband and evidence found during the execution of the


           6       This Court is not aware of any incriminating statement made by any defendant
  after the arrival of the search warrant.
                                                     18
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     search warrant, as well as any observatiOl~ made by the officers during the execution of

     that warrant.


                                           RalphD. (Iants
                                           Justice of the Superior Court



Dated: August 29,2003




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Judge is asked to reconsider


Sunday. l)ecetiiher 14. 2003

‘Subterftge’ used in bust, says judge

 :t-idence is suppressed


 By Gary V. Murray
 T&G     STAFF
  ‘flu tFO’ ‘(‘ te legn’ ni COO


 ‘woRcEsrEn- A judge has ordered the suppi’eSSiOfl ot’evictenct in drag ease in which lie uccused
 certain inembet’s of the \vorCCstCr Police Depattlietfl vice squad of acting unlawtiilly mid using
 “subter [‘lutes” and “shortcuts that underm inc the cot 1st utio no rights uf all of 05$

 In a 25-ptge decision allttwittf a dcI~iise motiott 1 a1ip~itSS evidence, S tiperior Court .1 udge Peter W.
 Aenes It, wrote, trl’hc tactics used by the police in [his ease should be of concern to a wider audience
 di an those involved LI ireci lv in liii case.”                  --



  ‘the judge no ted in his nil jig that die respnttsihi h Iv for ~~tablishing stratagi ~s in the war on drugs lies
   with the Legislature and governor.

   I lo’~ ever. as long as a priority is placed cii the law enfltrceifleflt approach to the eradication ol’the
  ding problem, even person in ibis Commui~~~’ealth has an ~
  die lit siniposed by 0w’              id led al ~


   The suppression of stnteniel[ts mid physical evidence. including quantities of niar~tIana, cocaine and
   heroin seized by police from ‘a vehicle and aprelinent. conic in the Worcester Superior Court c~e of
   Aaron T. Wade, 30, who is awaiting trial on a series ol’drug charges to which he has pleaded not
   aui I tv.

    Mr. Wades lawyer, I twin Kwia[. sought the suppression in a notion in which he alleged that evidence
    was gathered in vinlation uf his clients eonstittttiotial rights.

    The facts nt the case, as utitlined in the judge’s lindings. were as lbllows:

    On the morning of Sept. 16. members of the vice squad, under the direction of Sgt. Timothy
    O’Connor, were engaged in a drttg investigation targetilig Mr. Wade. Based on information provided
    by a confidential inforrniuit end drug purchases made by the unidentified individual, Sgt. O’Connor
    had obtained a search warrant icr Mr. Wade’s apartment at 15 Liberty St. and his t995 green Ford
    B~plo ret.

     SgL O’connor took up a position in a lot at 85 Prospect St.. which he also [tad described as a l~get of
     the investigittioli. Mc saw Mr. Wade esit 85 Prospect Si. and get into a green Ford Esplorer. Mr. Wade
      had begun to drive away when a woman, later identified as his girlfriend, Sarah 1-1ehet~ came out of
      85 Prospect St.. waved him dnwn and handed him an item.

      The two kissed. Mr. Wade drove ott in the Ford Explorer and Ms. l-lcbett lea in another vehicle.

      Sgt. O’Con,ior testi lied during ‘a hewing ‘to the milti on to suppress that he saw Ms. I lehert httnd hit.
      Wade a plastic h~tggie that she had retrieved from her vehicle. I lowevet’, Judge Agnes found that Ms.
      liehet’t blinded Mr. Wade his drive?s license. which lie had left in liar car.

      .Sgt. O’connor inthi’med other officers that there lied been a stispicious exchange between the
      defendtutt and his girlfriend and gave instructions to arrest Mr. Wade, stop Ms. l’lebert, search her
      vehicle ~md bring her to 15 Liberty St.

       ‘the judge found that Ms. Hehert was stopped a short tune later by OOlcer Robert Lanibardi. who was
       assisted by Officer Daniel O’Connor. Ms. Rebert. who was not charged, was ordered our of the vehicle
       mid placed in hancletiffs. ‘The officers searched lie car and its contents, itieluding Ms. Hebert’s
        bandliag, the judge found.

        Ms. Ilelsert was then take,’ in an unmarked police van to IS I .iherty St., tvheit Officer Riehat’d
        Satttlherg had stopped Mr. Wade alter ic had parked his Explorer in a lot across from the I .ihelt’
        Street iddress. 0 mcci’ S1tndhcrg told Mr. Wade that lie was under arrest flit selling crack cocaine.
        Judge Agnes found.

        SgL. O’Connor ‘and other officers arrived and the sergeant showed Mr. Wade the wiuTants for 15
        t.iberty St. and the Ford Exploi’er. I Ic’advised Mr. Wade ollns Mirntida rights, but Mr. Wade was not


                                                          __...._nfl%flfl~      A~K?TFI~AnO ;~          mciilepA to reconsider.htm            8/7/2009
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Judge is asked to reconsider


0514 d ~l tel her he u nctersrood die rights and chd not ndicai e he ni shed to speak ui th pa hut’. the j tid’JC
Rititid.

.‘\  search <tithe hxplorer turned tip plastic packets ~0ntiining wha twe re l,ttcr detentnhted tii be
 tti:lrij tin no and hero iii. as we I as about 530(1 in cash.

 Mr. Wade was hmttght inside the ,q,arlmcfli tit 15 Liberty Si.. and at some point. Ms. 1-teherl als°
 arri ct j i litre. tnt mediately u pr’ii lie r arrival. Officer James OR or’ rl, e en niniented that the apart tic’ I
 where no drugs were Ihund. was where Mr. Wade “brings his hookers to smoke crack.’ site jtidge
 hitund.

 H ntis at that p~int. Set. O’Conn w said. that Mr. Wade as ‘ed to speak to lice outside                 L   Ms.
 ~                                                                                                           cLnni~

  in cash were .sersed rota the Prospect Street apartment.

      Sot. fl’Connor said Mr Wade never asked to speak to a lawyer

      In a flot ,ti.ite to the decision. Judge Agnes said he <I id no I credit S gI. O’Con no’s t estim cay on dose



      Judge Agnes t’ottnd. instead, that Sgt. O’CoitttOr told Mr. Wade he intended to arren Ms. Hehcrt iâid
      charge her witit possession of the drugs found in the Explorer if he did 001 coOperate. When Mr. Wade
      asked io talk to a lavtyer, SP. O’connor told another officer to pta~ Ms. Heheh under turesç ttte
      j udize lb on tt.
       Mr. Wade then said he would cotiperate i ‘his girlfriend n4ere not arrested. according to J udg.c Agnes’
       tindings. The judge also found that no nne read Mr. Wade the consent thrm hefore he signed it and
       that Mr. Wade “reads at it very low level and was not capable of reading and ~mdersttinding the
       consent form without assistance.

       Judge Manes ruled that the warrants authorizing police to search Mr. Wade’s Exp]orer anti the
       apartment at IS Liberty St. were invalid because they were not supported by probtible cause. ‘the
       judge said there was no infoimatioti in the police affidavit in suppots of the wannnts stiggestitig drttgs
        were ever seen in Mr. Wade’s vehicle or home.

        He Mao l’ound that the stop of Ms. Heber~s vehicle was unlawful, that Mr. Wade did not voltinim’ilY
        consent to the search of 85 Prospect St. and that the cntiy and search there were illegal.

        “Altiotigh they nbtained search warrailts. they resorted to shortcuts and suhtcrfugcs when those
        warronts did not produce the resutis they soogh~” Judge Agnes wrote in reference to the omcers
        involved in the case.

         “They detained Sarah llebe~ and searched her vehicle without probable cause or reasonable sttspiciun
         of wrongdoing. They threatened to arrest Sarah I Ichert. ~vithout jttstit5caiiOti, in tin effort to indticc the
         dthndant to cooperate. l’hey ignored the defendant’s reqtiest for an attonley, and obtained his
         signlitttre on a consent to search form even though he can barely read.

          “While the del’endant may indeed have been engaged in illegal activities in SepteiTthe”. 2002, certain
          offleers of the Worcester l’c,lic~ Depannieat set out to make a case against hint by ttsing shortcuts that
          undermine the constittiti000l rights of all oI’us.” Judge Agnes wrote.

           He suggested police cottld have ftirther developed the infornitttion they had in die case “by ~ndueting
           surveillances and genuine conn’olted buys that would have either thspehled their suspicionS Or
           csuahlishcd an unassailable case of pt’obablc cause.’

           ittdgc Agnes concluded his ruling by quoting front a 1995 state Appeals Court decisioit “The
        ~ enmnltniitY diet fails In insist on scrupttlaus observance of high standards by its police and prosecutors
           has lo~ track of its Ihndaniental pu~o5es, and coui’ts that approve ~elt-nieaning ht,t uncon~itttti0md
            conduct by lttw enforcement ot’tkers. even in the case of 0~dotthtedly guilty dei’endants, deal the
            administration ofjustice and the integrity of the legal process a greater btow than when they permit a
            partietil at criminal to delay, or sotne.tini es even wholly to escape. due pttn slime ni by insisting on an
          I a ntai ii Ic d eo nsti ttitional ly correct trial

            Judge .kgnes’ ruling conies on the heels of two recent decisions by Superior Court Judge RalpIt 0.
            (hints in which lie (bond that Sat. O’connor Ihlsely testifled in an effort to justily police actitins in
            drttg investigations. Sgt. (t’Connor has maintained lie testiflect truthftilly in hotit instances.

             Assistant Dist,’ict Attorney Christoplter P. 1-lodgens lIed a motion asking Judge Omits to reconsider
             his decision in one of rite cases, describing the judges finding That Sgt. O’Connor lied as “clearly

                                                                                                                           ...nntto~AAV   Mm        8/7/2009
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Judge is asked to reconsider


 rroiieouS” and suhiect to reverts I on a p pe iii II e asked the I ttLluC to cope n the hea ri no md a tow the
piroseoUt on Lu present additional evidence.

 Judge C ants denied the n;uo n on procedu ro gr nid s. say i nj he licked .1 tirisd Ie [it in been use 1 notice
  if appeal had been tiled. District Attnrney John J. Conic, citing case law. said the udge was in error
 when he determined that he lacked j un sdi ci ion to address the motion ii, reconsidar.

 air. Conic said last week lie would ask. the cott rt for I mc hi d’tttiil and i~v ieiv a toni se ii pt oft he
  tearing in Mr. Wade’s case be lItre deciding whether to appeal Judge Agnes ruling.

  Putiec Chief Gerald J• VitLO s.eicetl suppoil for the vice unit.

  Re said the vice unit. as well as all other units and divisiOit~ in the Worcester Police Department ore
  currently under re vie ~v wi Lb regard to policies. proced tires ~u d standards.

  “I have only recently received a enpy of Jndgc Agnea~ decision which I will review with my
  command stafC’ he said. “I r there rue proeedttres or practices s~citic in the vice unit. i.e. affidavils.
  search warrants. Mirmida rights, that need to he addressed or corrected whether through training or
   policy, they will he made. I want to reiterate I supnOO the entire police vice unit md their ~vork and
   reputation for integt’itY in conducting thorough and pm’ofossioniil invcs~atit1t~

   Chris Eehegartty ot’the l’elegtant ~ Cheteite staff enntrihuwd in this report.

    tuesday, December 9.2003

    Judge woti’t reconsider ‘lie’ finding

    By Gary       ‘.‘.   Murray

     ‘WORCESTh~ A Superior ~0urt judge said he Lacks authority to reconsitler his finding theta vetetuti
     vi~ squad officer lied under oath in an effort to justil~ police actions during ‘a drug raid.

     Assistant Distdet Anonley Christopher P. Ilodgeni tiled a niotion last nxonth in Worcester Superior
     Court asking Judge Ralph 0. Ciants to reconsider his .&ug. 29 finding that Worcester Police Sgt. Timothy
     3. O’connOr fnlsely testified in mi evidetice suppression hearing. Mr. 1-lodgens described the flnding as
     “clearly erroneous” and subject to reversal on appeal. Re asked the judge to reopen the suppression
     hearing tO enable prosecutors to present additional c~.idenee.

      Mr. liodgens, the head ol’Oistriet Attortley John J. Cnnte’s appeals unit, also tiled a notice ol’ appeal of
      Judge Cants’ sttppressiotl nf evidence in the ease with the state Appeals Court.

       DENIAL
       On Nov. 21. itudge Cants denied the prosecUti0t~ motiOn for reeonsideratiml on ~roeedurttt grounds.

       “The simulttmeotts tiling of these two motions ~ffeetively prevents this Court from ruling on the motion
       for reconsideration in the absence ora stay from the Appeals Court specifically ~~thoriz’u)g such
        reconsideration,” Judge Oants wrote. Judge Canis cited ease law that he said supported his contention
       thai he locked jurisdiction to reconsider his earlier findiitg in light of the proseetttiot~s notice of appeaL.

        “We’ll have to rely upon the appeal” Mr. Conic said in reterence ui the denial              if   the motion for
        reconsideration

         In his Aug. 29 rulingOn a motion to suppress evidence. Judge Catds said he did not believe Sgt.
         O’connor when he tesdfied that fellow officers entered a flrst_floorati tnient at 138 flndie.o~ St. on
         April II, 2002, only after Isidro Arias, one of the ocetipOntS said they could go in and look for drugs.

         “A fle r earelktl consi dcrrainn. this court has cc,nie to the co nelttsion that Sgt. 0’ Coartor intended to lie to
         the court by hit sely litbriertting con sent to enter the alatnintent to avoid the legal di I licult ies of j usti l~ i ng
         the entry without consent,” .1 udge Cants wrote.

          s’rATE~N’fS
          ‘thejudge suppressed as evidence statements thot ~t-ere overhleitt’tt and obseflationt that were made by
          police frotn the time of the entry until a ttarrant was later obtained to search the apartment. .ludge Cents
          refused to suppress abtul 30 grams of heroin thttt police said they diseu~’ered during a search after the
          warrant was issued.

           Sgt.O’connor has said that he testified trutht’ttlty during the hearing on the motion to suppress.
           ~ceompanying the motion for reeottSidet~ti00 were affidavits front several police r,ftieers and r,tt,ers
           that Mr. Rodgens said. tended to corroborate Sgt. O’connor’s lestininny.



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                                                                                        A’knrl:.,Ana         ~ ~cked to reconsider.htm
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Saturday. Ntwe,liber 8. 2003

Judge is asked to reconsider


Evidt’itcc stppt’eSs ‘n rests on finding thai oI1~cer lied

 Gary ‘V Murray
 T&GSTASF

 WoR~~STERP roseci I titr5 are asking judg C to recoil side’ It finding tim a ‘etc ‘nit t’ice squad oflicer lied under omit ri in eli bit III juMi l\
 police aeliolts during a drug raid.

 In a motion filed this t~~ck in W,irceSt~ Superitir Court, Assistant DistHet Attorney Christopher P. i1odg~~ descrihed lodge Ralph I) Gaol?
 Aug. 29 finding. that \VoiteSLC police Sst. 1 jnioihy J. O’connor IhIsely testified in an evidence suppressiGfl he’adng. as “clearly ern~nentl~” and
 s,;l~jcet to reversal on appeal.

  Mr. Etodgeus is asking Judge Gants to reconsider his lindillg regarding SgI. O’connOr’s testimuily and his stippressin II’ evideilce in he ease,
  I-i is inolioli fri r reeonside rat ion asks lIe courl to reopen the suppress ion hearing to e naLije the prosecution to pre sent add iii ‘na I e ‘ idenee.

  In his 19-page decision. Judge Gants said he did not believe Sgt O’Connor when he testified that fellow oflicers entered a ftrst_IIOOr
  apartment at I 3.9 flndienn St. only after Isidro Arii~, who lived there, said they could so in and look Ihr drugs.

  “This coorr does not believe this testimony. After careful eonsideratiohl, this courr has come to the conclusion that Sgt O’connor intended to lie
  to the court by falsely f~~~tatiflg consent to enter the apa~nlcnt to avoid the legal dilliculties orjt,stifyhig thc entiy without consent” Judge
  Gaitta wrote.

   lie went on to find that Mr. Arias “did not consent to this initial cony,” which was thltowed. nlott than an hour t~ttct, by a search warrant being
   issued and the discoveO ot’ahnui 30 gramS tif heroin and more than $3,000 in cash. Judge Gants found the warrant and search to be lawl’ttl.

   The motion to stippress wt~ tiled by lawyers lot’ Mr. Aflas and big wife. M’Ixilninia Altagracia. who were each charged with tnt fliekitig in heroin
   in connection with the April It. 2002, raid.

    lodge Cents ordettd the st,ppr siOn of any staid cots made by the couple, orobset~ati0n5ht~~ by police, from dte time officers entered the
    apartment until the 3~vnl of the search warrant. He refused to suppress evidence found or obset~aiiOns made during the use of the search
    warrant.

     In his motion. Mr. Hodgens said reco,mskleration was war~nted because the evidence suppressed by the judge, including a bottle of
     inositol, a cumag agent “would have been inevitably discovered by office~ searching (he apartment with the search warrant.”

     Mr. Hodgemis said j.cconsidctntiofl also was warranted because the record of the case did not suppoft the judge’s conclusion that Sgt. O’connor
     lied.

     \k9iile appellate courts generallY accept a trial judge’s credihilib’ detcliiiinations, a judge “does not have the absolute disettion ut label a wimess
     a liar and perjurer,” Mr. Ilodgens wrote.

      t-te went on to say that the “scant evidence reflecting on ~~edihitity in the present case shows that the trid court judge exceeded the bounds of that
      discretion.

      “White he wns not compelled to credit the eommonweMth’5 evidence, the judge had no legienl basis to conclude that Sg(. O’connor lied
      under oath,’ the prosecutor said in his motion.

       ,~~eoinpanyi0g the inotiofl were several affidavits front fellow police officei’S and uthet’s that. Mr. 1-lodgens said. tended to cogahui’nte Sgt.
       O’Connot”s ~egtiinOtiy.
       The district ~t~orney’S office has also flied an appeal of the suppression order in the event Jtmd.ge (Jan15 denies the notion for mtcnnsideI’a~ott

       In n Sept S ruling in an unrelated case, Judge Gan~ again found that Sgt. o’connor provided false tesfimony during a defense motion
       to suppress evidence. The judge denied timat motion.

        Distrier Attorney John .1. Conte said yesterday a motion fr reconsitiet’ation tvottld tint he tiled in the latter case because his appeals    tttiit   believed
        the judge’s findings in that case wetv contingent uputi his tindings in the first case.

        Sgt. oconnor. a 20-year police veteran, ins said lie testified truthfully on both oceasiolis.



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